   Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 1 of 48

                                                                                                             Page 1
647 F.3d 524
(Cite as: 647 F.3d 524)




                                                            (2) because the actual facts giving rise to liability in
                                                            the underlying state lawsuit occurred outside of
           United States Court of Appeals,                  second- and third-layer excess liability insurers'
                    Fifth Circuit.                          policies, neither excess insurer had a duty to indem-
 The ESTATE OF Mable Dean BRADLEY, by and                   nify corporate parent for the judgment or settlement
through Gloria SAMPLE, Administratrix of the Es-            in the underlying state suit.
 tate of Mable Dean Bradley, as Assignee of claims
   held by Grancare, Incorporated, Mariner Health               Affirmed.
  Care, Incorporated, Boyd P. Gentry, George Mor-
  gan, M. Scott Athans, Robin C. Skelton and Eleta                             West Headnotes
          Jo Grimmett, Plaintiff–Appellant,
                                                            [1] Federal Courts 170B          776
                          v.
  ROYAL SURPLUS LINES INSURANCE COM-                        170B Federal Courts
  PANY, INCORPORATED; Lumbermen's Mutual                       170BVIII Courts of Appeals
     Casualty Company, Defendants–Appellees.                      170BVIII(K) Scope, Standards, and Extent
                                                                     170BVIII(K)1 In General
                    No. 10–60650.
                                                                        170Bk776 k. Trial de novo. Most Cited
                    July 19, 2011.
                                                            Cases
Background: Estate of nursing home resident who                 Court of Appeals reviews a district court's
died due to acute dehydration and an untreated ur-          grant of summary judgment de novo, applying the
inary tract infection shortly after she was trans-          same standards as the district court.
ferred to hospital brought state-court wrongful
                                                            [2] Federal Courts 170B          766
death action against nursing home's corporate par-
ent and, following jury verdict in estate's favor,          170B Federal Courts
entered into settlement agreement with corporate               170BVIII Courts of Appeals
parent and its first-layer excess liability insurer. Es-          170BVIII(K) Scope, Standards, and Extent
tate then sued corporate parent's second- and third-                 170BVIII(K)1 In General
layer excess liability insurers in federal district                       170Bk763 Extent of Review Depend-
court, seeking recovery for their alleged bad faith         ent on Nature of Decision Appealed from
failure to defend or indemnify corporate parent in                            170Bk766 k. Summary judgment.
the underlying state lawsuit and settlement. The            Most Cited Cases
parties filed cross-motions for summary judgment.
The United States District Court for the Northern           Federal Courts 170B          802
District of Mississippi, W. Allen Pepper, Jr., J.,
2010 WL 2723191, denied estate's motion and                 170B Federal Courts
granted summary judgment for both insurers. Estate             170BVIII Courts of Appeals
appealed.                                                          170BVIII(K) Scope, Standards, and Extent
                                                                      170BVIII(K)3 Presumptions
Holdings: The Court of Appeals, Emilio M. Garza,                             170Bk802 k. Summary judgment.
Circuit Judge, held that:                                   Most Cited Cases
(1) under Mississippi law, second-layer excess liab-            In reviewing a district court's grant of summary
ility insurer did not have a duty to defend its in-         judgment, the Court of Appeals views all facts in
sured in the underlying state lawsuit, and                  the light most favorable to the nonmoving party,




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 2 of Page
                                                                       48 2
647 F.3d 524
(Cite as: 647 F.3d 524)




and affirms only if the evidence shows that there is       general. Most Cited Cases
no genuine dispute as to any material fact and the             Where a state's highest court has not addressed
movant is entitled to judgment as a matter of law.         the issues presented in a case before the district
Fed.Rules Civ.Proc.Rule 56(a), 28 U.S.C.A.                 court based on diversity of citizenship, the district
                                                           court must make an “ Erie guess” as to how that
[3] Federal Courts 170B         373                        court would have resolved the issues if presented
                                                           with them, and the Court of Appeals does the same,
170B Federal Courts
                                                           de novo, on appeal.
   170BVI State Laws as Rules of Decision
       170BVI(A) In General                                [6] Insurance 217       2268
           170Bk373 k. Substance or procedure; de-
terminativeness. Most Cited Cases                          217 Insurance
     Where federal jurisdiction is based on diversity         217XVII Coverage––Liability Insurance
of citizenship, the Court of Appeals applies the sub-            217XVII(A) In General
stantive law of the forum state.                                     217k2267 Insurer's Duty to Indemnify in
                                                           General
[4] Federal Courts 170B         382.1                                    217k2268 k. In general. Most Cited
                                                           Cases
170B Federal Courts
    170BVI State Laws as Rules of Decision                 Insurance 217       2911
        170BVI(B) Decisions of State Courts as Au-
thority                                                    217 Insurance
           170Bk382 Court Rendering Decision                  217XXIII Duty to Defend
                170Bk382.1 k. In general. Most Cited              217k2911 k. In general; nature and source of
Cases                                                      duty. Most Cited Cases
     To determine the substantive law of a particu-
lar state, the Court of Appeals looks to the final de-     Insurance 217       2913
cisions of that state's highest court.
                                                           217 Insurance
[5] Federal Courts 170B         390                           217XXIII Duty to Defend
                                                                 217k2912 Determination of Duty
170B Federal Courts                                                    217k2913 k. In general; standard. Most
   170BVI State Laws as Rules of Decision                  Cited Cases
        170BVI(B) Decisions of State Courts as Au-             Under Mississippi law, an insurer's duties to
thority                                                    defend and indemnify its insured are distinct and
           170Bk388 Federal Decision Prior to State        separate duties requiring the use of different stand-
Decision                                                   ards.
                170Bk390 k. Anticipating or predict-
ing state decision. Most Cited Cases                       [7] Insurance 217       2914

Federal Courts 170B         781                            217 Insurance
                                                              217XXIII Duty to Defend
170B Federal Courts                                              217k2912 Determination of Duty
   170BVIII Courts of Appeals                                       217k2914 k. Pleadings. Most Cited Cases
      170BVIII(K) Scope, Standards, and Extent                 Under Mississippi law, when an insured is
         170BVIII(K)2 Questions of Local Law               sued, an insurer's duty to defend is determined
              170Bk781 k. Local law questions in           solely by comparing the facts alleged in the com-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 3 of Page
                                                                       48 3
647 F.3d 524
(Cite as: 647 F.3d 524)




plaint with the terms of the policy.                        217 Insurance
                                                                217XXIII Duty to Defend
[8] Insurance 217         2913                                      217k2920 Scope of Duty
                                                                          217k2923 k. Effect of other insurance.
217 Insurance
                                                            Most Cited Cases
   217XXIII Duty to Defend
                                                                 Under Mississippi law, second-layer excess li-
      217k2912 Determination of Duty
                                                            ability insurer of nursing home's corporate parent
            217k2913 k. In general; standard. Most
                                                            did not have duty to defend its insured in underly-
Cited Cases
                                                            ing state-court lawsuit brought against insured by
Insurance 217        2914                                   estate of deceased nursing home resident; although
                                                            first-layer excess insurer had a broad duty to defend
217 Insurance                                               under its own policy and was obligated to pay all
    217XXIII Duty to Defend                                 premiums on appeal bonds, second-layer excess
       217k2912 Determination of Duty                       policy only “followed form” to first-layer excess
          217k2914 k. Pleadings. Most Cited Cases           policy with respect to “professional liability,” and
     Under Mississippi law, an insurer has an abso-         first-layer excess policy's medical professional liab-
lute duty to defend a complaint which contains al-          ility coverage endorsement contained no reference
legations covered by the language of the policy, but        to a defense obligation, pursuant to terms of
has no duty to defend those claims which fall out-          second-layer excess policy, insurer's duty to defend
side the coverage of the policy.                            arose only after the actual payment of judgments or
                                                            settlements had exhausted any underlying insur-
[9] Federal Courts 170B           786                       ance, and that condition precedent was never satis-
                                                            fied, as mere entry of judgment exceeding limits of
170B Federal Courts
                                                            underlying insurance was insufficient to trigger ex-
    170BVIII Courts of Appeals
                                                            cess insurer's defense duty.
       170BVIII(K) Scope, Standards, and Extent
           170BVIII(K)2 Questions of Local Law              [11] Insurance 217         2271
                  170Bk786 k. Particular questions.
Most Cited Cases                                            217 Insurance
     Determination of whether insurer had duty, un-              217XVII Coverage––Liability Insurance
der state law, to defend its insured in underlying                  217XVII(A) In General
state suit, which rested on the factual allegations in                  217k2267 Insurer's Duty to Indemnify in
the complaint and the language of its policy, would         General
be addressed by the Court of Appeals as a matter of                         217k2271 k. Accrual; conditions pre-
law.                                                        cedent. Most Cited Cases
                                                                  Under Mississippi law, unlike an insurer's duty
[10] Insurance 217         2917                             to defend, which can be determined at the begin-
                                                            ning of a lawsuit, an insurer's duty to indemnify
217 Insurance
                                                            generally cannot be ascertained until the comple-
   217XXIII Duty to Defend
                                                            tion of litigation, when liability is established, if at
        217k2916 Commencement of Duty; Condi-
                                                            all.
tions Precedent
          217k2917 k. In general. Most Cited Cases          [12] Insurance 217         2268

Insurance 217        2923                                   217 Insurance
                                                               217XVII Coverage––Liability Insurance




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 4 of Page
                                                                       48 4
647 F.3d 524
(Cite as: 647 F.3d 524)




       217XVII(A) In General                                                217k2268 k. In general. Most Cited
           217k2267 Insurer's Duty to Indemnify in         Cases
General                                                         In action brought in federal court by estate of
                217k2268 k. In general. Most Cited         deceased nursing home resident against second- and
Cases                                                      third-layer excess liability insurers of nursing
     Under Mississippi law, unlike an insurer's duty       home's corporate parent, in which estate sought re-
to defend, which turns on the pleadings and the            covery for excess insurers' alleged bad faith failure
policy, the duty to indemnify turns on the actual          to defend or indemnify corporate parent in underly-
facts giving rise to liability in the underlying suit,     ing state lawsuit and settlement, state-court trial re-
and whether any damages caused by the insured              cord was properly before the district court and, in
and later proven at trial are covered by the policy.       determining facts underlying estate's indemnity
                                                           claim, the district court was free to look to the re-
[13] Insurance 217        2396                             cord from the underlying suit.

217 Insurance                                              *527 James Robert Freeman, Kathleen Clark
    217XVII Coverage––Liability Insurance                  Knight, Isaac Ramon Ruiz–Carus (argued), Wilkes
       217XVII(B) Coverage for Particular Liabilit-        &      McHugh,       P.A., Tampa,    FL,    for
ies                                                        Plaintiff–Appellant.
           217k2394 Excess and Umbrella Liability
Coverage                                                   John Stuart Robinson, Jr., Richard Tracy Conrad,
               217k2396 k. Scope of coverage. Most         III, Wells, Marble & Hurst, P.L.L.C., Ridgeland,
Cited Cases                                                MS, Kathy Johnson Maus (argued), Butler Pappas,
     Under Mississippi law, second- and third-layer        Tallahassee, FL, Ronald Steven Rawls, Louis
excess liability insurers of nursing home's corporate      Schulman, Butler, Pappas, Weihmuller, Katz,
parent did not have a duty to indemnify it for judg-       Craig, L.L.P., Tampa, FL, for Defendant–Appellee
ment or settlement in underlying state wrongful            Royal Surplus Lines Insurance Co.
death action brought by estate of deceased nursing
home resident; second- and third-layer excess              Michael Cleary Bruck, Sr. Lit. Atty. (argued),
policies “followed form” to first-layer excess policy      Alyssa Mara Reiter, Williams, Montgomery &
with respect to professional liability, first-layer ex-    John, Chicago, IL, William Trey Jones, III, Chris-
cess policy unambiguously limited indemnity to             topher Anthony Shapley, Brunini, Grantham,
those damages resulting from medical incidents             Grower & Hewes, P.L.L.C., Jackson, MS, for De-
“which occur[red] during the policy period,” and           fendant–Appellee, Lumbermen's Mutual Casual
the events which gave rise to liability here, includ-      Company.
ing resident's dehydration, broken femur, and
severe urinary tract infection, occurred outside of        Appeal from the United States District Court for the
the second- and third-layer excess insurers' policy        Northern District of Mississippi.
periods.
                                                           Before REAVLEY, GARZA and SOUTHWICK,
[14] Insurance 217        2268                             Circuit Judges.
217 Insurance
   217XVII Coverage––Liability Insurance                   EMILIO M. GARZA, Circuit Judge:
      217XVII(A) In General                                     In this insurance coverage dispute, the Estate of
          217k2267 Insurer's Duty to Indemnify in          Mable Dean Bradley (“the Estate”) appeals the dis-
General                                                    trict court's grant of summary judgment to the De-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 5 of Page
                                                                       48 5
647 F.3d 524
(Cite as: 647 F.3d 524)




fendants–Appellees Royal Surplus Lines Insurance           fendants wanted to pursue an appeal, and Mariner's
Co. (“Royal”) and Lumbermens Mutual Casualty               first layer excess insurer, Lexington Insurance
                      FN1
Co. (“Lumbermens”).         The district court found       Company (“Lexington”), agreed to post a portion of
that, as a matter of law, Royal and Lumbermens             the appellate bond. Mariner's second and third layer
were not required to defend or indemnify a policy-         excess insurers—*528 Royal and Lumbermens, re-
holder/defendant in a separate lawsuit brought by          spectively—would not, however. Royal maintained
the Estate in a Mississippi state court. For the reas-     that the applicable portion of its excess policy had
ons that follow, we AFFIRM.                                not been triggered at that point, and thus, it owed
                                                           no duty to participate in bonding the jury's award
         FN1. The Estate erroneously identified            on appeal. Lumbermens insisted that its excess
         Lumbermens as “Lumbermen's” in the                policy was limited to indemnification, and there-
         complaint and in the proceedings below.           fore, it owed no duty to participate in defending the
         The district court accepted this nomen-           Mariner action or in posting an appellate bond.
         clature, but we will refer to Lumbermens
         by its proper corporate name.                          The Mariner defendants and Lexington then
                                                           entered into a settlement agreement with the Estate
                          I                                that extinguished “any and all claims relating to”
     Mable Dean Bradley was a resident at the Indi-        Bradley's care and treatment at the Indianola nurs-
anola Health and Rehabilitation Center from Febru-         ing home, “including claims for damages, costs, or
ary 7, 2000, to May 17, 2002, when she was trans-          attorney's fees ... in exchange for $10.5 million.”
ferred to the South Sunflower County Hospital in           Together, Lexington and Mariner paid a total of
Sunflower County, Mississippi. Bradley died within         $2.3 million to the Estate as part of the settlement;
24 hours of her admission to the hospital. The im-         Royal and Lumbermens paid nothing. Mariner as-
mediate causes of death included acute dehydration         signed its interest in any claims against Royal and
and an untreated urinary tract infection.                  Lumbermens to the Bradley estate.

      Bradley's estate brought suit in Mississippi              In February 2008, the Estate filed suit against
state court against the Indianola Health and Rehab-        Royal and Lumbermens in federal district court,
ilitation Center's corporate parent, Mariner Health        based on the parties' diversity of citizenship, seek-
Care, Inc., and several other defendants (“the Mar-        ing recovery for Royal's and Lumbermens' alleged
iner defendants”). The Estate sought recovery based        bad faith failure to defend or indemnify Mariner in
on claims of negligence, mistreatment, malice and/         the underlying state lawsuit and settlement. The Es-
or gross negligence, fraud, breach of fiduciary duty,      tate moved for summary judgment, asking the dis-
statutory survival, and wrongful death arising out of      trict court to find that the Royal policy in effect
Bradley's residency at the Indianola nursing home.         from March 1999 to March 2000, and the Lumber-
The Estate's complaint further alleged that the            mens policy in effect from March 1998 to March
wrongs Bradley suffered “were of a continuing              2001, provided excess coverage to Lexington's first
nature, and occurred throughout Mable Dean Brad-           layer excess policy in effect from July 1999 to July
ley's stay at the Defendant's facility.”                         FN2
                                                           2000.       The Estate also asked the court to find
                                                           that the policies described above required the ex-
    After a ten-day jury trial in the Circuit Court of
                                                           cess insurers collectively to defend and indemnify
Sunflower County, the jury awarded $1.5 million in
                                                           Mariner for the final judgment in the underlying
compensatory damages and $10.5 million in punit-
                                                           state suit. Royal and Lumbermens filed cross-
ive damages to Bradley's estate, and the trial court
                                                           motions for summary judgment, asking the court to
entered final judgment accordingly. No appeal was
                                                           find to the contrary.
taken from the trial court's order. The Mariner de-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 6 of Page
                                                                       48 6
647 F.3d 524
(Cite as: 647 F.3d 524)




         FN2. Royal issued two second layer excess         ted with them. Id.; see also Holt v. State Farm Fire
         policies that were in effect at different         & Cas. Co., 627 F.3d 188, 191–92 (5th Cir.2010);
         times during Bradley's February 2000 to           Batts v. Tow–Motor Forklift Co., 66 F.3d 743,
         May 2002 stay at the Indianola nursing            749–50 (5th Cir.1995). We do the same, de novo,
         home. There were three Lexington policies         on appeal.
         in effect at different times during this same
         27–month span. The Estate's decision to                                    III
         seek summary judgment under the specific               The Estate argues that the district court erred in
         policies described above is discussed in          finding that Royal and Lumbermens were not re-
         Section III.A.2, infra.                           quired to insure Mariner in the underlying state ac-
                                                           tion. Specifically, the Estate contends that Royal's
     In December 2010, the district court denied the       excess policy unambiguously required Royal to de-
Estate's motion and granted summary judgment for           fend and indemnify Mariner for the state court
both insurers, finding as a matter of law that Roy-        judgment and resulting settlement, and that the
al's and Lumbermens' respective policies did not re-       Lumbermens policy required it to indemnify Mar-
                                                                              FN3
quire them to defend or indemnify Mariner in the           iner for the same.
state lawsuit. Because Royal and Lumbermens were
not obligated to provide coverage in the underlying                 FN3. The Estate's motion for summary
suit, the Estate's bad faith action could not lie, and              judgment argued that Lumbermens owed a
the district court dismissed the Estate's claim with                duty to indemnify and defend the Mariner
prejudice. This appeal followed.                                    defendants, and the district court's opinion
                                                                    addressed both arguments accordingly. On
                          II                                        appeal, the Estate's opening brief only
     [1][2] We review a district court's grant of                   presses the first argument; the second is
summary judgment de novo, applying the same                         waived. See Valle v. City of Houston, 613
standards as the district court. See Floyd v. Amite                 F.3d 536, 544 n. 5 (5th Cir.2010).
Cnty. Sch. Dist., 581 F.3d 244, 247 (5th Cir.2009).
We view all facts in the light most favorable to the                                 A
nonmoving party, and affirm only if the evidence                [6][7][8][9] Under Mississippi law, an insurer's
shows that “there is no genuine dispute as to any          duties to defend and indemnify its insured are dis-
material fact and the movant is entitled to judgment       tinct and separate duties requiring the use of differ-
as a matter of law.” FED. R. CIV. P. 56(a); see also       ent standards. See Titan Indem. Co. v. Pope, 876
Floyd, 581 F.3d at 247–48.                                 So.2d 1096, 1101–02 (Miss.Ct.App.2004); see gen-
                                                           erally 14 Lee R. Russ & Thomas F. Segala,
     [3][4][5] Where federal jurisdiction is based on      COUCH ON INSURANCE § 200:3 (3d ed.2007); 3
diversity of citizenship, as it is here, we apply the      Jeffrey E. Thomas et al., NEW APPLEMAN ON
substantive law of the forum state. See Erie R.R. v.       INSURANCE LAW LIBRARY EDITION §§
Tompkins, 304 U.S. 64, 78, 58 S.Ct. 817, 82 L.Ed.          16.06[3][a], 17.01[1][b][ii] (2010). When an in-
1188 (1938). To determine Mississippi law, we              sured is sued, an insurer's duty to defend is determ-
*529 look to the final decisions of Mississippi's          ined solely by comparing the facts alleged in the
highest court. See Am. Int'l Specialty Lines Ins. Co.      complaint with the terms of the policy. See United
v. Canal Indem. Co., 352 F.3d 254, 260 (5th                States Fid. & Guar. Co. v. Omnibank, 812 So.2d
Cir.2003). Because the Mississippi Supreme Court           196, 200 (Miss.2002); Delta Pride Catfish, Inc. v.
has not addressed the issues presented here, the dis-      Home Ins. Co., 697 So.2d 400, 403 (Miss.1997).
trict court had to make an “ Erie guess” as to how         An insurer “has an absolute duty to defend a com-
that court would have resolved the issues if presen-       plaint which contains allegations covered by the




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 7 of Page
                                                                       48 7
647 F.3d 524
(Cite as: 647 F.3d 524)




language of the policy, but ... no duty to defend          policy.
those claims which fall outside the coverage of the
policy.” Farmland Mut. Ins. Co. v. Scruggs, 886                Royal's Big Shield policy also included an en-
So.2d 714, 719 (Miss.2004). Because whether Roy-           dorsement that modified the policy's default terms
al had a duty to defend Mariner in the underlying          and limited coverage for professional liability:
state suit rests on the factual allegations in the com-
                                                               PROFESSIONAL LIABILITY LIMITATION
plaint and the language of its policy, we address
                                                               This endorsement modifies insurance provided
this issue as a matter of law. See Noxubee Cnty.
                                                           under the following:
Sch. Dist. v. United Nat'l Ins. Co., 883 So.2d 1159,
1165 (Miss.2004) (“The interpretation of an insur-             Commercial Catastrophe Liability Insurance
ance policy is a question of law, not one of fact.”).          (“Big Shield” Policy)
                           1                                 With respect to “Professional liability” arising
     [10] Here, the district court looked to the terms       out of any Insured's activities as a(n) Nursing Fa-
of the Royal excess policy and observed that Roy-            cilit[y] this policy is limited to the coverage
al's duty to defend arose only after the actual pay-         provided in the “Underlying Insurance”.
ment of judgments or settlements had exhausted
any underlying insurance, and because that condi-            If coverage is not provided by “Underlying Insur-
tion precedent was never satisfied, Royal's defense          ance”, coverage is excluded from this policy....
obligation never matured. We agree.
                                                               Lexington's first layer excess policy is the
     The Royal second layer excess policy at is-           “underlying insurance” contemplated here.
sue—the Big Shield Commercial Catastrophe Liab-
ility Policy—was a general liability policy that                The gravamen of the Estate's claim is that Roy-
provided $10 million in coverage excess of Lexing-         al's policy “followed form” to the Lexington policy
ton's $2 million first layer excess policy, which it-      in all respects, and because Lexington had a broad
self followed Mariner's $1 million self-insured re-        duty to defend under its own policy and was oblig-
tention.*530 With respect to Royal's duty to de-           ated to pay all premiums on appeal bonds, that
fend, the Big Shield policy provided:                      Royal likewise was obligated to defend and parti-
                                                                                                           FN4
                                                           cipate in bonding the jury's award on appeal.
  1. INSURING AGREEMENT                                    This is mistaken.

    1....                                                            FN4. See Insituform Techs., Inc. v. Am.
                                                                     Home Assur. Co., 566 F.3d 274, 278 (1st
    2. We will have the right and duty to defend                     Cir.2009) (“The phrase ‘follow form’
    any “suit” seeking those damages [that the in-                   refers to the practice, common in excess
    sured becomes legally obligated to pay] when:                    policies, of having the second-layer cover-
                                                                     age follow substantively the primary layer
      (a) The applicable limits of insurance of the
                                                                     provided by the main insurer.”); see also
      “underlying insurance” and other insurance
                                                                     id. at 278 n. 3 (“[B]ut is a mistake to as-
      have been used up in the payment of judg-
                                                                     sume precision in such terminology; and
      ments or settlements....
                                                                     even where a policy is described as ‘follow
     The parties agree that Lexington's $2 million                   form,’ it does not necessarily provide cov-
first layer excess policy and Mariner's $1 million                   erage that is substantively identical to the
self-insured retention make up the “underlying in-                   underlying one.”) (emphasis in original)
surance” referred to in this section of the Royal                    (citing Barry R. Ostrager & Thomas R.




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 8 of Page
                                                                       48 8
647 F.3d 524
(Cite as: 647 F.3d 524)




         Newman, 2 HANDBOOK ON INSUR-                      Cir.2011) (“[A]n insurer's duty to indemnify typic-
         ANCE COVERAGE DISPUTES § 13.01                    ally can be resolved only after the conclusion of the
         (11th ed.2002)).                                  underlying action.”) (applying Texas law). This is
                                                           because, unlike the duty to defend, which turns on
     As the district court correctly observed, noth-       the pleadings and the policy, the duty to indemnify
ing in the Royal policy suggests that it follows form      turns on the actual facts giving rise to liability in
as to all terms and conditions in the Lexington            the underlying suit, and whether any damages
policy. Rather, the Professional Liability Limitation      caused by the insured and later proven at trial are
endorsement is the only term that contains a follow        covered by the policy. See Columbia Cas. Co. v.
form provision, and it specifies that the Royal            Ga. & Fla. RailNet Inc., 542 F.3d 106, 111 (5th
policy will follow form to the Lexington policy “          Cir.2008) (applying Texas law); see generally 14
[w]ith respect to ‘professional liability’ ” arising       COUCH ON INSURANCE § 200:3; 3 NEW AP-
out of Mariner's operations at the Indianola nursing       PLEMAN ON INSURANCE LAW LIBRARY
home. A review of the Lexington policy's corres-           EDITION § 17.01[1][b][ii]. Thus, in determining
ponding Medical Professional Liability Coverage            whether Royal or Lumbermens had any duty to in-
endorsement reveals no reference to a defense ob-          demnify Mariner, we look to the actual facts put
ligation. Thus, in the absence of a duty to defend         forward at trial that established Mariner's liability
under the Lexington policy's relevant endorsement,                               FN5
                                                           in the state lawsuit.
Royal's defense obligation, if any, must be determ-
ined by reference to the default terms of the Big                  FN5. We note that the Mississippi case law
Shield policy. And, as that policy provided, Royal's               addressing liability insurers' separate du-
duty to defend only arose after “[t]he applicable                  ties to defend and indemnify is limited,
limits of the ‘underlying insurance’ and other insur-              and that the duty to defend is discussed al-
ance have been used up in the payment of judg-                     most exclusively in those Mississippi cases
ments or settlements....” (emphasis added). Con-                   identifying the two duties. The lone excep-
trary to the Estate's claim, the mere entry of a judg-             tion appears to be Titan Indemnity Co. v.
ment that exceeded the limits of the underlying in-                Pope, 876 So.2d 1096 (Miss.Ct.App.2004).
surance was insufficient *531 to trigger Royal's de-               In making an Erie guess as to Royal's and
fense duty. Instead, Royal's policy required actual                Lumbermens' indemnification obligations
payment that exhausted Mariner's self-insured re-                  here, we rely on Circuit precedent and
tention and Lexington's policy limits. That condi-                 leading secondary sources accordingly. We
tion never occurred prior to Mariner's settlement                  have found nothing in our research that
with the Bradley estate. As such, Royal did not                    suggests that the Mississippi Supreme
have a duty to post an appellate bond or otherwise                 Court would deviate from the accepted
defend its insured in the underlying state lawsuit.                definition of indemnity if that court were
                                                                   called upon to decide the question before
                             2                                     us.
     [11][12] Unlike the duty to defend, which can
be determined at the beginning of a lawsuit, an in-             [13] At the outset, we note that there were two
surer's duty to indemnify generally cannot be ascer-       Royal policies in effect, and three Lexington
tained until the completion of litigation, when liab-      policies in effect, at different times during Brad-
ility is established, if at all. See Barden Miss. Gam-     ley's February 2000 to May 2002 stay at the Indian-
                                                                              FN6
ing LLC v. Great N. Ins. Co., 576 F.3d 235, 239–40         ola nursing home.        The Estate sought summary
(5th Cir.2009); see also VRV Dev. L.P. v.                  judgment based on the Royal policy in effect from
Mid–Continent Cas. Co., 630 F.3d 451, 459 (5th             March 1999 to March 2000, and the Lumbermens




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 9 of Page
                                                                       48 9
647 F.3d 524
(Cite as: 647 F.3d 524)




policy in effect from March 1998 to March 2001.            policy provides:
Obviously, a significant portion of Bradley's
27–month residency fell outside the coverage peri-           I. COVERAGE—MEDICAL PROFESSIONAL
ods for these specific policies. The Estate argued           LIABILITY
below, as it does here, that Bradley's injuries “were
                                                               1. The Company [Lexington] will pay on be-
of a continuing nature” and that under the terms of
                                                               half of the Insured [Mariner] that portion of
the Lexington policy's professional liability en-
                                                               ultimate net loss in excess of the Self–Insured
dorsement, the entire 27–month span of Bradley's
                                                               Retention which the Insured shall become leg-
stay was to be considered a single “medical incid-
                                                               ally obligated to pay as Damages which occur
ent.” The Estate elected, its argument goes, to sub-
                                                               during the policy period, resulting from a med-
mit its claim under that combination of policies that
                                                               ical incident arising out of the following pro-
offered the greatest coverage limits at any single
                                  FN7                          fessional services provided by the Insured to
point during Bradley's residency.
                                                               any person at any pharmacy or facility owned,
         FN6. There is only one Lumbermens                     managed or operated by the Named Insured in
         policy at issue in this case.                         Item # 1 of the Declarations:

         FN7. The Texas Supreme Court authorized                 a) medical, surgical, dental or nursing treat-
         this type of election in cases where a                  ment to a patient, including the furnishing of
         single, indivisible injury triggers more than           food or beverage in connection therewith;
         one policy, covering different policy peri-
                                                                 b) furnishing or dispensing of drugs or med-
         ods. See Am. Physicians Ins. Exch. v. Gar-
                                                                 ical, dental or surgical supplies or appliances
         cia, 876 S.W.2d 842, 855 (Tex.1994). The
                                                                 if the personal injury occurs after the In-
         Mississippi Supreme Court has not passed
                                                                 sured has relinquished possession thereof to
         on the issue decided in Garcia and we do
                                                                 others;
         not reach it either.
                                                                 ...
     *532 Unsurprisingly, Royal and Lumbermens
take issue with the claim that Bradley's injuries                Any such rendering of or failure to render the
should be characterized as one continuous “medical               above described professional services, to-
incident.” Both excess insurers note that the injuries           gether with all related acts or omissions in
that immediately preceded Bradley's death—acute                  the furnishing of such services to any one
dehydration, a broken femur, and an untreated urin-              patient resulting in a claim shall be con-
ary tract infection —occurred in April and May                   sidered as arising out of one medical incid-
2002, well outside either of Royal's or Lumber-                  ent.
mens' policy periods. And, the insurers argue, the
jury's compensatory and punitive damages awards                 (emphasis in original). The Estate relies on this
were based on these three injuries specifically; not       provision, coupled with its assertion that it put on
a finding of continuing negligence.                        evidence at trial demonstrating Mariner's negli-
                                                           gence throughout Bradley's 27–month stay, for the
    The Lexington medical professional liability           proposition that the jury's verdict included the spe-
endorsement is indeed the correct benchmark for            cific Royal and Lumbermens policy periods in is-
assessing Royal's duty to indemnify Mariner. This          sue. The record suggests otherwise.
is because, as all parties agree, Royal's excess
policy follows form to the Lexington policy with              [14] The state trial record shows that the claims
respect to professional liability. The Lexington           submitted to the jury related exclusively to the in-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 10 of 48
                                                                     Page 10
647 F.3d 524
(Cite as: 647 F.3d 524)




juries that Bradley suffered in the weeks before her       2000, and March 1998 to March 2001, for Royal
death (i.e., dehydration, a broken femur, and a            and Lumbermens, respectively. Because the actual
                                  FN8
severe urinary tract infection).        The trial court    facts giving rise to liability in the underlying suit
restricted expert testimony to the April–May 2002          occurred outside of Royal's and Lumbermens'
time frame, and the Estate's medical expert on caus-       policies, neither excess insurer had a duty to indem-
ation, as well as Bradley's attending nurse practi-        nify Mariner for the judgment or settlement in the
tioner, limited their testimony to this time frame ac-     underlying state suit. There being no duty to indem-
cordingly. While the Estate did present some evid-         nify, there could no breach in denying coverage.
ence of Mariner's general negligence*533 that oc-          See A & S Trucking Co. v. First General Ins. Co.,
curred throughout the term of Bradley's stay, in the       578 So.2d 1212, 1218 (Miss.1991). The Estate's
form of insufficient staffing and charting irregular-      bad faith action fails as a matter of law.
ities, this evidence could not have supported the
jury's liability findings or damages awards. This is                               IV
because the trial court charged the jury with finding         The district court's summary judgment is AF-
that for medical liability to attach, there had to be a    FIRMED.
causal relationship between Mariner's wrongful
                                                           C.A.5 (Miss.),2011.
conduct and Bradley's injuries. And the only evid-
                                                           Estate of Bradley ex rel. Sample v. Royal Surplus
ence providing a nexus between Mariner's wrongful
                                                           Lines Ins. Co., Inc.
conduct and actual harm to Bradley related to con-
                                                           647 F.3d 524
duct that occurred in April and May 2002.
                                                           END OF DOCUMENT
         FN8. The Estate argues that it was error for
         the district court to refer to the state trial
         record, and it contends that we are likewise
         precluded from doing so on appeal. There
         is no support for this assertion. See N. Am.
         Specialty Ins. Co. v. Royal Surplus Lines
         Ins. Co., 541 F.3d 552, 558 n. 12 (5th
         Cir.2008) (applying Texas law). The state
         trial record was properly before the district
         court and, in determining the facts underly-
         ing the Estate's indemnity claim, the court
         was free to look to the record from the un-
         derlying suit. See FED. R. CIV. P. 56(c).

    Lexington's first layer excess policy unambigu-
ously limits indemnity to those damages resulting
from medical incidents “which occur during the
policy period.” And because the Royal and Lum-
bermens policies follow form to the Lexington
policy with respect to medical professional liability,
Royal and Lumbermens only had a duty to indem-
nify Mariner for those damages that occurred with-
in their respective policy periods. Here, those
policy periods ran from March 1999 to March




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 11 of 48

                                                                                                         Page 1
750 F.2d 428
(Cite as: 750 F.2d 428)




                                                          413 Workers' Compensation
                                                                413XX Effect of Act on Other Statutory or
       United States Court of Appeals,                    Common-Law Rights of Action and Defenses
                Fifth Circuit.                                     413XX(C) Action Against Third Persons in
          Leroy SULLEN, Plaintiff,                        General for Employee's Injury or Death
                      v.                                             413XX(C)1 Right of Action of Employee
 MISSOURI PACIFIC RAILROAD COMPANY,                       or Representative Generally
                 Defendant.                                                 413k2160 What Persons Liable as
     Leroy SULLEN, Plaintiff-Appellant,                   Third Persons
                      v.                                                   413k2164 k. Principal Employer or
CHEVRON CHEMICAL COMPANY, Defendant-                      Employer of Injured Person. Most Cited Cases
             Appellee-Appellant,                               Under Louisiana Worker's Compensation Law,
                      v.                                  contractor's employee was statutory employee of
 BROADMOOR CORPORATION, et al., Third                     chemical company for which the contractor was to
         Party Defendants-Appellees.                      provide laborers to clean tank cars prior to their be-
                                                          ing loaded with products at chemical company's
                   No. 83-3372.
                                                          plant, and thus, employee's personal injury suit
                   Jan. 14, 1985.
                                                          against the chemical company was barred, where
     Contractor's employee brought personal injury        the cleaning of tank cars was an integral part of the
suit against chemical company which was party to          chemical company's operations and where, before
contract. The United States District Court for the        the company contracted for the tank car cleaning,
Eastern District of Louisiana, Peter Beer, J., dis-       the chemical company's employees regularly did
missed the suit on a finding that the chemical com-       this cleaning. LSA-R.S. 23:1032, 23:1061.
pany was the employee's statutory employer under
                                                          [2] Indemnity 208        31(7)
Louisiana Worker's Compensation Law at the time
of the injury-producing accident, and dismissed           208 Indemnity
chemical company's indemnification claim against             208II Contractual Indemnity
the contractor. Appeals were taken. The Court of                  208k31 Construction and Operation of Con-
Appeals, Politz, Circuit Judge, held that: (1) the        tracts
employee was statutory employee of the chemical                      208k31(7) k. Duty to Defend. Most Cited
company at time of the accident, and thus, the per-       Cases
sonal injury suit was barred under Louisiana Work-           (Formerly 208k9(1))
er's Compensation Law, and (2) under terms of the              Under Louisiana law, whether a party is ob-
contract, contractor had no duty to defend and was        liged to tender a defense to another party depends
not obligated to reimburse chemical company for           entirely upon the allegations in the precipitating
costs incurred in its defense of the personal injury      pleadings.
suit, which was based solely on chemical com-
pany's alleged negligence.                                [3] Insurance 217       2914

    Affirmed.                                             217 Insurance
                                                             217XXIII Duty to Defend
                 West Headnotes                                 217k2912 Determination of Duty
                                                                   217k2914 k. Pleadings. Most Cited Cases
[1] Workers' Compensation 413          2164




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 12 ofPage
                                                                        48 2
750 F.2d 428
(Cite as: 750 F.2d 428)




   (Formerly 217k514.10(1))                                chemical company arising out of performance of
     In determining whether an indemnitor or an in-        the contract, contractor had no duty to defend and
surer is obligated to defend indemnitee or insured         was not obliged to reimburse the chemical company
under terms of indemnity or insurance contract,            for costs incurred in its defense of personal injury
Louisiana courts look exclusively to pleadings in          suit brought by contractor's employee who was also
light of contract provisions; ultimate outcome of          statutory employee of the chemical company under
the case has no effect upon duty to defend.                Louisiana Worker's Compensation Law. LSA-R.S.
                                                           23:1032, 23:1061.
[4] Indemnity 208         31(7)
                                                           *429 Heisler & Wysocki, Bonnie L. Zakotnik, New
208 Indemnity                                              Orleans, La., for Sullen.
   208II Contractual Indemnity
        208k31 Construction and Operation of Con-          McLoughlin, Barranger, Provosty & Melancon,
tracts                                                     Lloyd C. Melancon, New Orleans, La., for Chev-
           208k31(7) k. Duty to Defend. Most Cited         ron.
Cases
   (Formerly 208k9(1))                                     Bienvenu, Foster, Ryan & O'Bannon, H.L. Foster,
     Under Louisiana law, unless contract of indem-        III, New Orleans, La., for Broadmoor, et al.
nity specifically provides for costs of defense as a
separate item of indemnification, indemnitor has no        Appeals from the United States District Court for
obligation to defend if the petition alleges facts         the Eastern District of Louisiana.
which, if proven, would establish liability of the in-
demnitee but preclude coverage under indemnity             Before GEE, POLITZ and RANDALL, Circuit
agreement.                                                 Judges.

[5] Indemnity 208         33(5)
                                                           POLITZ, Circuit Judge:
208 Indemnity                                                   This diversity case occasions an examination
   208II Contractual Indemnity                             and application of the statutory-employer provision
      208k33 Particular Cases and Issues                   of the Louisiana Worker's Compensation Law,
         208k33(5) k. Contractors, Subcontractors,         La.R.S. 23:1061, as well as application of the
and Owners. Most Cited Cases                               Louisiana law governing indemnity between certain
   (Formerly 208k9(2), 208k9(1))                           contracting parties. Leroy Sullen appeals the grant
                                                           of summary judgment dismissing his personal in-
Indemnity 208        37                                    jury claim on a finding that Chevron Chemical
                                                           Company was his statutory employer at the time of
208 Indemnity                                                                             FN1
                                                           the injury-producing accident.     Chevron appeals
   208II Contractual Indemnity
                                                           the dismissal*430 of its indemnification claim
      208k34 Scope and Extent of Liability
                                                           against Broadmoor Corporation, Sullen's employer.
             208k37 k. Attorney Fees. Most Cited
                                                           Finding neither error of fact or law in the district
Cases
                                                           court's opinion, we affirm.
   (Formerly 208k9(2))
    Where contractor agreed to defend and indem-                   FN1. Sullen also appealed from the judg-
nify chemical company for any loss, expense, claim                 ment dismissing his complaint against
or demand for injury to contractor's employees and                 Missouri Pacific Railroad Company. That
for injury to third persons or employees of the                    appeal was dismissed previously by order




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 13 ofPage
                                                                        48 3
750 F.2d 428
(Cite as: 750 F.2d 428)




        of this court and is not now before us.           claim for contractual indemnity. The court noted
                                                          that if the motion had not been moot, it would have
                       Facts                              been granted. Chevron maintains that despite the
     Sullen was an employee of Broadmoor. Broad-          mootness, it is entitled to attorney fees and costs in-
moor contracted with Chevron to provide the               curred in the successful defense against Sullen's ex
laborers to clean tank cars prior to their being          delicto claim because the contract required Broad-
loaded with products at Chevron's Oak Point plant.        moor to defend any suit brought by a Broadmoor
The tank cars were cleaned daily. The Broadmoor           employee.
crew was under the supervision and immediate dir-
ection of a Broadmoor foreman who had hiring and                   FN2. The statutory-employer          section,
firing authority. The Broadmoor foreman, in turn,                  La.R.S. 23:1061, provides:
took his orders from a Chevron employee.
                                                                     Where any person (in this section re-
    During the period of the Broadmoor/Chevron                       ferred to as principal) undertakes to ex-
contract, Chevron employees occasionally per-                        ecute any work, which is a part of his
formed car cleaning tasks when Broadmoor em-                         trade, business, or occupation or which
ployees were not available, but Broadmoor and                        he had contracted to perform, and con-
Chevron employees did not work together. Before                      tracts with any person (in this section re-
Chevron's contract with Broadmoor, Chevron em-                       ferred to as contractor) for the execution
ployees regularly and routinely cleaned tank cars.                   by or under the contractor of the whole
By the time this case was being readied for trial,                   or any part of the work undertaken by
because of an economic downturn Chevron had re-                      the principal, the principal shall be liable
sumed tank car cleaning with in-house personnel.                     to pay to any employee employed in the
The contractual arrangement with Broadmoor was                       execution of the work or to his depend-
discontinued.                                                        ent, any compensation under this
                                                                     Chapter which he would have been li-
    Under the contract, Broadmoor agreed to in-                      able to pay if the employee had been im-
demnify and hold Chevron harmless from any claim                     mediately      employed       by     him....
made by any Broadmoor employee. Broadmoor did                        [Emphasis added.]
not specifically agree to indemnify Chevron for
claims based on Chevron's own negligence.                          FN3. La.R.S. 23:1032 provides in pertinent
                                                                   part:
     The district court found that the cleaning of
tank cars before loading products for shipment was                   The rights and remedies herein granted
an integral part of Chevron's trade or business                      to an employee or his dependent on ac-
which had been performed customarily by Chevron                      count of an injury, or compensable sick-
employees. Accordingly, Sullen was found to be a                     ness or disease for which he is entitled to
                                             FN2
statutory employee under La.R.S. 23:1061.        As                  compensation under this Chapter, shall
a result of that designation, under La.R.S. 23:1032,                 be exclusive of all other rights and rem-
FN3
       Sullen's exclusive remedy was under the                       edies of such employee, his personal
Worker's Compensation Law and his tort action                        representatives, dependents, or relations,
against Chevron was statutorily barred. As a con-                    against his employer, or any principal or
sequence of the grant of Chevron's motion for sum-                   any officer, director, stockholder, partner
mary judgment dismissing Sullen's claim, the dis-                    or employee of such employer or prin-
trict court considered moot Broadmoor's motion for                   cipal, for said injury, or compensable
summary judgment seeking dismissal of Chevron's                      sickness or disease. For purposes of this




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 14 ofPage
                                                                        48 4
750 F.2d 428
(Cite as: 750 F.2d 428)




           Section, the word “principal” shall be          the type of work performed by the contractor.” If
           defined as any person who undertakes to         that answer is in the affirmative, the principal is a
           execute any work which is a part of his         statutory employer with resulting workmen's com-
           trade, business or occupation in which          pensation obligations and a concomitant liability
           he was engaged at the time of the injury,       shield. If the answer is negative, the court must
           or which he had contracted to perform           continue the inquiry “to determine if others en-
           and contracts with any person for the ex-       gaged in businesses similar to that of the principal
           ecution thereof.                                customarily do this type of work or if it is an integ-
                                                           ral part of their businesses.” If this query results in
                      Analysis                             an affirmative response the principal is a statutory
A. Statutory Employer                                      employer. In sum, the core inquiry is whether the
    After a period of some difficulty, including           employees of the principal or employees of other
“conflicting interpretation,” *431Penton v. Crown          employers engaged in similar operations customar-
Zellerbach Corp., 699 F.2d 737, 740 (5th Cir.1983)         ily perform the work at issue. In either instance, the
, beginning with Blanchard v. Engine & Gas Com-            principal will be deemed a statutory employer.
pressors Services, Inc., 613 F.2d 65 (5th Cir.1980),
we have sought to minimize conflicts and accord a              The Louisiana Supreme Court addressed the
uniform application to R.S. 23:1061. In Blanchard          matter recently in Lewis v. Exxon Corp., 441 So.2d
we observed:                                               192 (La.1983), phrasing the test as follows:

     [W]e should first consider whether the particu-            Two elements of the § 1032 definition must be
lar principal involved in the case customarily does        met in order for a principal to be considered a stat-
the type of work performed by the contractor and           utory employer. First, the “work” must be a part of
whether the contractor's work is an integral part of       the principal's “trade, business or occupation.”
the work customarily performed by the principal. If        Second, the principal must have been engaged in
either of these situations exist, then there is a stat-    that trade, business or occupation at the time of the
utory employment relationship, and the inquiry             injury. Absent either of these two conditions, the
ends there. If, however, the principal does not nor-       injury will not come within the scope of the work-
mally engage in this type of activity, or if it is not     ers' compensation program.
normally a part of his practices, then it is necessary
to determine if others engaged in businesses similar            Courts must look to the facts of each individual
to that of the principal customarily do this type of       case to determine whether a particular activity is
work or if it is an integral part of their businesses.     within the scope of a principal's trade, business or
If either of these inquiries yields an affirmative an-     occupation. Generally, in order for a work or
swer, then the general custom of the trade will con-       project to be within a principal's trade, business or
trol to make the relationship between the principal        occupation, it must be routine or customary, or
in question and his contractors' employees that of         some other type of activity which is necessary for
statutory employer and employee.                           the principal's day-to-day operations. Put another
                                                           way, the works contemplated by the statute are
     613 F.2d 65, 71 (5th Cir.1982). In a Blanchard        those activities which are an actual part of the
progeny, Chavers v. Exxon Corp., 716 F.2d 315,             nature and purpose of the principal's enterprise. Ex-
317 (5th Cir.1983), we quoted from and explained           traordinary or nonrecurring constructions or repairs
Blanchard's holding:                                       usually are outside the scope of the trade or busi-
     By way of further explanation we stated that          ness of manufacturing or production concerns....
the court “should first consider whether the particu-      General maintenance and repair work, which by
lar principal involved in the case customarily does        their nature allow the smooth and continued opera-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 15 ofPage
                                                                        48 5
750 F.2d 428
(Cite as: 750 F.2d 428)




tions of the principal, are within the scope of the        trade, business or occupation and is within the
statute.... The specific task to which an individual       reach of § 1061. See also Barrios v. Engine & Gas
employee is put should not be determinative of his         Compressor Services, Inc., 669 F.2d 350 (5th
coverage under the act. Instead, the entire scope of       Cir.1982).
the work contract must be considered.
                                                           B. Indemnification
     441 So.2d 197-98 (citations omitted). After               The contract between Chevron and Broadmoor
Lewis we again considered the issue in *432Hodges          provides:
v. Exxon Corp., 727 F.2d 450 (5th Cir.1984), and
concluded that although the language of Lewis                  3.2 CONTRACTOR [Broadmoor] agrees to de-
differed from that in Blanchard, the analysis of the       fend and hold COMPANY [Chevron], its assigns,
legal issue was the same under both articulations.         directors, employees, insurers, officers, stockhold-
                                                           ers and successors indemnified and harmless from
     [1] Applying Louisiana law as announced by            and against any loss, expense, claim or demand for:
the Louisiana Supreme Court and as perceived by
panels of this court in a growing line of cases, it is         3.2.1 Injury to or death of CONTRACTOR'S
abundantly clear that summary judgment was ap-             employees or for damage to or loss of CON-
propriate in the present instance. Blanchard set out       TRACTOR'S property in any way arising out of or
a disjunctive test under which a principal is a stat-      connected with the performance by CONTRACT-
utory employer if either the principal or others en-       OR of services hereunder; and
gaged in the same business customarily perform the
                                                               3.2.2 Injury to, or death of, third persons or the
work performed by the contractor or the work per-
                                                           employees of COMPANY, or for damage to or loss
formed by the contractor is an integral part of work
                                                           of property of COMPANY or of third persons, in
customarily performed by the principal or others
                                                           any way arising out of or connected with the per-
engaged in the same business. While the affidavits
                                                           formance by CONTRACTOR of services hereun-
and depositions in this case may be considered ar-
                                                           der. CONTRACTOR shall be liable for Property
guably insufficient to support a summary judgment
                                                           Damage to a maximum extent of $100,000.00.
on the ground that Chevron or others engaged in the
business of blending oil additives customarily clean            Chevron has previously urged that contracts
railroad tank cars, the record fully supports the trial    with identical or essentially similar wording en-
judge's finding that the cleaning of tank cars is an       titled it to indemnity for costs and legal fees even
integral part of Chevron's operations. The tank cars       when the claim was based solely on allegations of
came into the plant daily and had to be cleaned be-        Chevron's negligence. Our response has been ambi-
fore being loaded with Chevron products. Before            valent. In Stephens v. Chevron Oil Co., 517 F.2d
Chevron contracted with Broadmoor, Chevron em-             1123 (5th Cir.1975), although recognizing that “the
ployees regularly did this cleaning along with other       terms of this indemnity agreement do not entitle
cleaning and general maintenance. During a period          Chevron to be indemnified against its own negli-
of business prosperity Chevron promoted all of its         gence,” id. at 1125, we nonetheless allowed recov-
laborers to operators and contracted with Broad-           ery of fees and costs because the jury found Chev-
moor for a pool of laborers to perform general             ron free of negligence. In a companion suit decided
maintenance and cleaning duties. When the eco-             that same day, Smith v. Chevron Oil Co., 517 F.2d
nomic conditions required belt tightening, Chevron         1154 (5th Cir.1975), Chevron was found negligent.
returned to the use of its own employees for main-         Chevron's claim for reimbursement of costs and
tenance and cleaning. And as the Lewis court noted,        fees was expressly rejected because we found “no
maintenance work is an integral part of a principal's      contract language to indicate an intent for [the in-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 16 ofPage
                                                                        48 6
750 F.2d 428
(Cite as: 750 F.2d 428)




demnitor] to provide a legal defense for Chevron           (La.App.1979); Pearson v. Hartford Accident & In-
against its negligent acts.” Id. at 1158. In the recent    demnity Co., 345 So.2d 123 (La.App.1977). In de-
case of Wiley v. Offshore Painting Contractors, 711        termining whether an indemnitor or an insurer is
F.2d 602 (5th Cir.1983), we rejected Chevron's             obligated to defend an indemnitee or insured under
claim for indemnity, citing Smith and Stephens             the terms of an indemnity or insurance contract, the
“where we held unequivocally*433 that this indem-          Louisiana courts look exclusively to the pleadings
nity provision ‘does not provide for indemnification       in light of the contract provisions; the ultimate out-
for [Chevron's] own negligence in the clear and            come of the case has no effect upon the duty to de-
specific language required by Louisiana law.’ ” Id.        fend. Young Oil Co. of Louisiana, Inc. v. Durbin;
at 610.                                                    West Brothers of DeRidder, La., Inc. v. Morgan
                                                           Roofing Co., Inc., 376 So.2d 345 (La.App.1979);
    In a recent case, Hyde v. Chevron U.S.A., Inc.,        Sullivan v. Hooker Chemical Co. In seeking cost
697 F.2d 614 (5th Cir.1983), we suggested that             and fee reimbursement Chevron is arguing its enti-
Louisiana law does not require a specific reference        tlement to a defense.
to negligent acts in order for an indemnity agree-
ment to cover claims based on negligence if the lan-           In Sullivan v. Hooker Chemical the plaintiff, an
guage of the agreement reflects a clear intent to in-      employee of Atlas Erection Co., was injured while
clude those acts. However, Wiley holds that the            working on Hooker Chemical's premises. The peti-
wording in Chevron's contract, which we now re-            tion was based solely on allegations of Hooker's
view, does not show a clear intent of the parties to       negligence and the negligence of a third party.
indemnify Chevron when the action is based on              Hooker conceded that its indemnity agreement with
Chevron's sole negligence.                                 Atlas did not require Atlas to indemnify losses
                                                           caused by its own negligence but argued that Atlas
    Nevertheless, Chevron argues that it is entitled       should have provided a defense. The trial court
to reimbursement for the cost of successfully de-          found that neither Hooker nor the third party was
fending an action based solely on its alleged negli-       negligent and denied recovery of costs and fees. In
gence, citing Stephens and Hobbs v. Teledyne               analyzing Atlas' obligation to defend Hooker, Judge
Movible Offshore, Inc., 632 F.2d 1238 (5th                 Lemmon (now Justice Lemmon of the Louisiana
Cir.1980). We are not persuaded. In allowing fees          Supreme Court) stated and held:
and costs the Stephens court overlooked controlling
Louisiana precedent and the Hobbs court uncritic-               Plaintiff's petition alleged Hooker was liable on
ally followed Stephens, overlooking intervening            the basis of its independent negligence and of its
Louisiana decisions. The issue was not squarely            negligence or responsibility in relation to Giambel-
presented to the court in Stephens or Hobbs. We do         luca's contractual operations. There was no allega-
not labor under that limitation and we take cogniz-        tion of liability asserted against Hooker in relation
ance of post-Stephens decisions of the Louisiana           to Atlas' contractual operations. Thus, unless the
courts which reach a contrary result.                      pleadings were expanded, Hooker could only have
                                                           been found liable on the basis of its own negligence
     [2][3] Louisiana law is definite and certain.         or that of Giambelluca.
Whether a party is obliged to tender a defense to
another party depends entirely upon the allegations
in the precipitating pleadings. American Home As-               The contract terms provided for indemnity for
surance Co. v. Czarniecki, 255 La. 251, 230 So.2d          Hooker's liability for Atlas' negligence, but not for
253 (1969); Young Oil Co. of Louisiana, Inc. v.            Hooker's own negligence or for Hooker's liability
Durbin, 412 So.2d 620 (La.App.1982); Sullivan v.           for negligence of a third party. Under these circum-
Hooker Chemical Co., 370 So.2d 672                         stances neither indemnity nor defense was owed by




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 17 ofPage
                                                                        48 7
750 F.2d 428
(Cite as: 750 F.2d 428)




Atlas.

    370 So.2d at 677.

     [4] From the foregoing we conclude that unless
the contract of indemnity specifically provides for
costs of defense as a separate item of indemnifica-
tion, the indemnitor*434 has no obligation to de-
fend if the petition alleges facts which, if proven,
would establish liability of the indemnitee but pre-
clude coverage under the indemnity agreement.

     [5] In analyzing Broadmoor's obligation to de-
fend Chevron we are Erie -obliged to follow and
apply Louisiana law. Doing so we focus exclusively
on the pleadings considered against the backdrop of
the indemnity agreement. Sullen's complaint was
based solely on allegations of Chevron's negli-
gence. As we have previously held, the language of
this indemnity agreement does not obligate Broad-
moor to indemnify Chevron for Chevron's own neg-
ligence (Stephens, Smith and Wiley ), and there is
no language indicating the intent of Broadmoor to
provide Chevron with the costs of defense against
its own negligent acts (Smith ). Since the pleadings
alleged only Chevron's negligence, Broadmoor had
no duty to defend and is not obliged to reimburse
Chevron the costs it incurred in its defense.

   The judgment of the district court is AF-
FIRMED.

C.A.La.,1985.
Sullen v. Missouri Pacific R. Co.
750 F.2d 428

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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 18 of 48

                                                                                                          Page 1
250 P.3d 682
(Cite as: 250 P.3d 682)




                                                           (4) subcontractor was not required to provide
                                                           primary, as opposed to excess, insurance.
           Colorado Court of Appeals,
                     Div. VII.                                Affirmed in part, reversed in part, and re-
 LAFARGE NORTH AMERICA, INC., d/b/a La-                    manded.
       farge West, Inc., Plaintiff–Appellee,
                         v.                                                  West Headnotes
 K.E.C.I. COLORADO, INC., a Colorado corpora-
                                                           [1] Indemnity 208        33(5)
           tion, Defendant–Appellant.
                                                           208 Indemnity
                  No. 09CA0460.
                                                               208II Contractual Indemnity
                  March 4, 2010.
                                                                   208k33 Particular Cases and Issues
Background: General contractor on a highway                            208k33(5) k. Contractors, subcontractors,
construction project brought action against subcon-        and owners. Most Cited Cases
tractor, and two of subcontractor's insurers, assert-           Indemnity provision in a subcontractor agree-
ing that subcontractor breached contractual obliga-        ment between general contractor and subcontractor,
tions to defend, indemnify, and insure in relation to      which indicated that subcontractor would
an underlying negligence suit that motorcycle pas-         “indemnify against and save it harmless” from
senger brought after a collision with construction         claims arising “in whole or in part” from any act or
equipment killed her spouse, who was the driver of         omission of subcontractor, required subcontractor
the motorcycle. After first phase was litigated on is-     to indemnify general contractor for general con-
sues pertaining to interpretation of the indemnity         tractor's own negligence where general contractor's
and insurance provisions of the subcontract, the           liability arose out of any incident which was at least
parties filed cross-motions for summary judgment.          partially the result of subcontractor's acts or omis-
The District Court, Adams County, No. 05CV904,             sions.
John T. Bryan, J., entered summary judgment rul-
                                                           [2] Indemnity 208        31(1)
ing that subcontractor breached contractual obliga-
tions to defend, indemnify, and insure. Subcontract-       208 Indemnity
or's motion to reconsider was denied and the Dis-             208II Contractual Indemnity
trict Court certified the judgment as final. Subcon-              208k31 Construction and Operation of Con-
tractor appealed.                                          tracts
                                                                    208k31(1) k. In general. Most Cited Cases
Holdings: The Court of Appeals, J. Jones, J., held
that:                                                      Indemnity 208        31(2)
(1) mere allegation that subcontractor was partially
at fault on underlying negligence claim did not            208 Indemnity
render it liable for indemnification;                         208II Contractual Indemnity
(2) allegation of fault on part of subcontractor was              208k31 Construction and Operation of Con-
sufficient to trigger subcontractor's duty to defend       tracts
general contractor;                                                      208k31(2) k. Intention of the parties.
(3) subcontractor's liability insurance, on which          Most Cited Cases
general contractor was a named insured, provided                Courts construe an indemnity agreement in ac-
coverage for general contractor's negligence; but          cordance with the same principles that govern the




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 19 ofPage
                                                                        48 2
250 P.3d 682
(Cite as: 250 P.3d 682)




interpretation of contracts generally; they strive to      208 Indemnity
effectuate the contracting parties' intent, as determ-         208II Contractual Indemnity
ined primarily from the contract language.                         208k31 Construction and Operation of Con-
                                                           tracts
[3] Indemnity 208         30(1)                                       208k31(6) k. Indemnitee's own negligence
                                                           or fault, in general. Most Cited Cases
208 Indemnity
                                                                A contractual provision should not be con-
   208II Contractual Indemnity
                                                           strued to permit an indemnitee to recover for his
      208k26 Requisites and Validity of Contracts
                                                           own negligence unless the court is firmly convinced
           208k30 Indemnitee's Own Negligence or
                                                           that such an interpretation reflects the intention of
Fault
                                                           the parties.
                208k30(1) k. In general. Most Cited
Cases                                                      [7] Indemnity 208          33(5)
    An indemnity provision that a party contends
renders the indemnitor liable for the indemnitee's         208 Indemnity
conduct must contain clear and unequivocal lan-                208II Contractual Indemnity
guage to that effect.                                             208k33 Particular Cases and Issues
                                                                      208k33(5) k. Contractors, subcontractors,
[4] Indemnity 208         30(1)                            and owners. Most Cited Cases
                                                                Under indemnity clause in subcontractor agree-
208 Indemnity
                                                           ment which triggered subcontractor's duty to in-
    208II Contractual Indemnity
                                                           demnify general contractor for claims for which
       208k26 Requisites and Validity of Contracts
                                                           subcontractor was at least partially at fault, mere al-
           208k30 Indemnitee's Own Negligence or
                                                           legation that subcontractor was partially at fault on
Fault
                                                           underlying personal injury claim was not sufficient
                208k30(1) k. In general. Most Cited
                                                           to render subcontractor liable.
Cases
     The failure to refer specifically to an indemnit-     [8] Indemnity 208          31(7)
ee's negligent conduct in an indemnity agreement
does not render an otherwise unambiguous indem-            208 Indemnity
nity provision insufficient to indemnify the indem-           208II Contractual Indemnity
nitee from its own negligence.                                    208k31 Construction and Operation of Con-
                                                           tracts
[5] Indemnity 208         31(6)                                      208k31(7) k. Duty to defend. Most Cited
                                                           Cases
208 Indemnity
    208II Contractual Indemnity                            Indemnity 208         42
        208k31 Construction and Operation of Con-
tracts                                                     208 Indemnity
           208k31(6) k. Indemnitee's own negligence            208II Contractual Indemnity
or fault, in general. Most Cited Cases                              208k42 k. Accrual of liability. Most Cited
     The general rule is that indemnity agreements         Cases
which purport to indemnify for the negligent con-               Because the duties to defend and to indemnify
duct of an indemnitee must be strictly construed.          are separate and distinct, the former duty is
                                                           triggered more easily than the latter, and a party
[6] Indemnity 208         31(6)                            may have a duty to defend but not a duty to indem-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 20 ofPage
                                                                        48 3
250 P.3d 682
(Cite as: 250 P.3d 682)




nify; a party's breach of the duty to defend does not       [11] Insurance 217        1010
preclude it from contesting its alleged duty to in-
demnify.                                                    217 Insurance
                                                                217I In General; Nature of Insurance
[9] Indemnity 208         43                                        217k1007 Types of Insurance
                                                                       217k1010 k. Liability. Most Cited Cases
208 Indemnity                                                    “Liability insurance” compensates an insured
   208II Contractual Indemnity                              for damages the insured must pay to others because
          208k43 k. Accrual of duty to defend. Most         of its own actions.
Cited Cases
     Under subcontractor agreement, which im-               [12] Insurance 217        1702
posed upon subcontractor a duty to defend general
contractor when the obligation to indemnify general         217 Insurance
contractor was potentially triggered, the subcon-                 217XII Procurement of Insurance by Persons
tractor's duty to defend arose when the injured party       Other Than Agents
in an underlying personal injury suit alleged that                  217k1702 k. Contracts. Most Cited Cases
both general contractor and subcontractor were                   Subcontractor was not required to provide
negligent, regardless of whether subcontractor was          primary, as opposed to excess, insurance under sub-
in fact partially at fault as required to trigger the       contractor's contractual obligation to provide gener-
obligation to indemnify.                                    al contractor with “liability insurance” naming gen-
                                                            eral contractor as an insured party, absent evidence
[10] Insurance 217        1702                              of any intent, in the contract or otherwise, that the
                                                            liability insurance be primary insurance.
217 Insurance
     217XII Procurement of Insurance by Persons             [13] Insurance 217        2110
Other Than Agents
      217k1702 k. Contracts. Most Cited Cases               217 Insurance
                                                               217XV Coverage––in General
Insurance 217        2361                                          217k2107 Other Insurance
                                                                         217k2110 k. Primary and excess insur-
217 Insurance                                               ance, in general. Most Cited Cases
    217XVII Coverage––Liability Insurance                        In contrast to “primary insurance,” which cov-
        217XVII(B) Coverage for Particular Liabilit-        ers an injury at the first level before any other in-
ies                                                         surance is exhausted, “excess insurance” is activ-
            217k2359 Manufacturers' or Contractors'         ated only after the magnitude of the loss exceeds
Liabilities                                                 the limits of the applicable primary insurance.
               217k2361 k. Scope of coverage. Most
Cited Cases                                                 [14] Insurance 217        1010
     Under subcontractor's contractual obligation to
provide general contractor with liability insurance         217 Insurance
naming general contractor as an insured party, the              217I In General; Nature of Insurance
liability insurance provided coverage for the gener-                217k1007 Types of Insurance
al contractor's negligence, not solely for subcon-                     217k1010 k. Liability. Most Cited Cases
tractor's negligence, so long as it was for a claim              The fact that a policy is excess, as opposed to
connected to subcontractor's work, as set forth in          primary, does not affect whether it constitutes liab-
the subcontract.                                            ility insurance, including comprehensive general li-
                                                            ability; rather, whether insurance is “liability insur-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 21 ofPage
                                                                        48 4
250 P.3d 682
(Cite as: 250 P.3d 682)




ance” depends on the nature and extent of the con-         Opinion by Judge J. JONES.
duct, injuries, claims, and damages covered.                    Defendant, K.E.C.I. Colorado, Inc., appeals the
                                                           district court's summary judgment ruling that it
[15] Insurance 217        2285(2)                          breached contractual obligations to defend, indem-
                                                           nify, and insure plaintiff, Lafarge North America,
217 Insurance
                                                           Inc. We conclude that (1) K.E.C.I. breached the
   217XVII Coverage––Liability Insurance
                                                           duty to defend but that it is premature to assess
      217XVII(A) In General
                                                           *684 damages for that breach; (2) Lafarge is not en-
         217k2279 Amounts Payable
                                                           titled to summary judgment on its indemnification
            217k2285 Other Insurance
                                                           claim; and (3) the district court incorrectly con-
                217k2285(2) k. Primary and excess
                                                           strued K.E.C.I.'s duty to insure Lafarge. Therefore,
insurance. Most Cited Cases
                                                           we affirm the judgment in part, reverse it in part,
Insurance 217        2285(4)                               and remand the case for further proceedings.

217 Insurance                                                                 I. Background
   217XVII Coverage––Liability Insurance                        Lafarge was the general contractor for a high-
      217XVII(A) In General                                way construction project administered by the Col-
         217k2279 Amounts Payable                          orado Department of Transportation (CDOT).
            217k2285 Other Insurance                       K.E.C.I. provided traffic control services pursuant
               217k2285(3) Proration and Alloca-           to a subcontract with Lafarge.
tion
                                                                Late one night, a motorcyclist drove onto a
                  217k2285(4) k. In general. Most
                                                           highway entrance ramp and collided with a piece of
Cited Cases
                                                           road construction equipment that a Lafarge employ-
Insurance 217        2285(8)                               ee had parked in the only traffic lane of the ramp.
                                                           The motorcyclist died in the accident; his wife, who
217 Insurance                                              was a passenger on the motorcycle, was seriously
   217XVII Coverage––Liability Insurance                   injured.
      217XVII(A) In General
         217k2279 Amounts Payable                               The injured wife sued Lafarge, the Lafarge em-
            217k2285 Other Insurance                       ployee who had parked the equipment on the ramp,
                    217k2285(8) k. Escape clauses.         and K.E.C.I. for negligence. Lafarge demanded that
Most Cited Cases                                           K.E.C.I. provide it a defense and indemnify it for
    A “liability insurance” policy can be primary          any liability it might have, invoking certain provi-
or excess, may cover liability on a pro rata basis, or     sions of the subcontract and K.E.C.I.'s insurance
may contain an escape clause providing that it will        policy, on which Lafarge was an additional named
not cover any loss that is also covered by another         insured. K.E.C.I. and the insurer refused Lafarge's
policy.                                                    demands, essentially for the reasons that (1)
                                                           K.E.C.I. was not even partially at fault and its du-
*683 Wells, Anderson & Race, LLC, Larry S. Mc-             ties to defend and indemnify Lafarge apply only if
Clung, L. Michael Brooks, Jr., Denver, Colorado,           K.E.C.I. was at least partially at fault; and (2) be-
for Plaintiff–Appellee.                                    cause the insurance policy was only an “excess”
                                                           coverage policy, (a) there is no duty to defend un-
Senter, Goldfarb, & Rice, L.L.C., Jennifer M.              der the policy, and (b) there is no coverage under
Palmer,   Denver,   Colorado,   for   Defend-              the policy to pay Lafarge because Lafarge had not
ant–Appellant.                                             incurred any liability in excess of that covered by




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 22 ofPage
                                                                        48 5
250 P.3d 682
(Cite as: 250 P.3d 682)




its own insurance policy. Lafarge settled the claims         K.E.C.I. to provide Lafarge with primary insur-
against it by paying $700,000 to the injured wife in         ance coverage;
return for a release.
                                                             • K.E.C.I. had breached the duty to provide
     Lafarge brought this case against K.E.C.I. and          primary insurance; and
two of K.E.C.I.'s insurers. Its amended complaint
asserted claims for breach of contract, fraud, and           • K.E.C.I. is liable to Lafarge for Lafarge's cost
violation of the Colorado Consumer Protection Act.           of defense and the amount Lafarge paid to settle
In essence, Lafarge alleged that (1) K.E.C.I. is con-        the personal injury case.
tractually obligated to indemnify Lafarge for liabil-
                                                                K.E.C.I. moved for reconsideration. It asserted
ity arising from Lafarge's own negligence so long
                                                           that the court had misinterpreted the subcontract
as the liability arose in part from K.E.C.I.'s acts or
                                                           and had erred by finding it liable for indemnity
omissions, which it did here; (2) the complaint in
                                                           when there had been no factual determination that it
the personal injury case triggered K.E.C.I.'s con-
                                                           was even partially at fault for the accident. In deny-
tractual duty to defend Lafarge because it alleged
                                                           ing K.E.C.I.'s *685 motion, the court again rejected
that K.E.C.I. was at least partially at fault for the
                                                           K.E.C.I.'s arguments concerning interpretation of
accident; and (3) the subcontract obligates K.E.C.I.
                                                           the subcontract and found (for the first time) that
to provide Lafarge with “primary,” not merely
                                                           K.E.C.I. had waived its right to contest its liability
“excess” insurance coverage.
                                                           for indemnification by breaching its duty to defend.
     The parties agreed to litigate the case in two
                                                              The district court certified its summary judg-
phases, with the first phase limited to resolving the
                                                           ment as final. K.E.C.I. appeals.
issues pertaining to interpretation of the indemnity
and insurance provisions of the subcontract. After                            II. Discussion
the parties completed discovery on those issues,               K.E.C.I. raises the following contentions on ap-
they filed cross-motions for summary judgment.             peal:
The district court granted Lafarge's motion and
denied K.E.C.I.'s. As relevant here, the court ruled           (1) The district court erred in granting sum-
as follows:                                                  mary judgment in Lafarge's favor on the duty to
                                                             indemnify because
  • the subcontract unambiguously requires
  K.E.C.I. to indemnify Lafarge for Lafarge's neg-             (a) the indemnification clause unambiguously
  ligence if K.E.C.I. was at least partially at fault;       provides that K.E.C.I. is liable only for its own
                                                             negligence,
  • K.E.C.I. had breached the indemnity obligation;
                                                               (b) the clause is at least ambiguous on that
  • the subcontract unambiguously requires                   score, and
  K.E.C.I. to defend Lafarge if a claim which could
  trigger K.E.C.I.'s obligation to indemnify Lafarge           (c) it may challenge its alleged duty to indem-
  was asserted against Lafarge;                              nify Lafarge even if it breached its duty to de-
                                                             fend.
  • K.E.C.I. had breached the duty to defend be-
  cause the complaint in the personal injury case               (2) The court erred in finding that it had
  alleged that both Lafarge and K.E.C.I. were at             breached the duty to indemnify because the issue
  fault;                                                     of breach was not before the court and no fact
                                                             finder has found that it was at least partially at
  •   the   subcontract   unambiguously      requires




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 23 ofPage
                                                                        48 6
250 P.3d 682
(Cite as: 250 P.3d 682)




  fault.                                                     [K.E.C.I.] further specifically obligates [itself] to
                                                             [Lafarge] in the following respects, to wit: ...
    (3) The court erred in finding that K.E.C.I. has
  a duty to defend because, again, it is liable only            (b) To indemnify [Lafarge] against and save
  for its own negligence; therefore, it only has a           [it] harmless from any and all claims, suit, or li-
  duty to defend Lafarge where Lafarge is alleged            ability for injuries to property, injuries to persons
  to be vicariously liable for K.E.C.I.'s acts, and no       including death, and from any other claims, suits,
  such liability was alleged in the personal injury          or liability on account of [sic], arising in whole or
  case.                                                      in part of [sic] any act or omission of [K.E.C.I.],
                                                             or any of [its] officers, agents, employees or ser-
    (4) The court erred in construing the insurance          vants....
  clause to require K.E.C.I. to provide Lafarge with
  primary insurance coverage because                            [2] We construe an indemnity agreement in ac-
                                                           cordance with the same principles that govern the
    (a) the clause does not contain any language           interpretation of contracts generally. Boulder Plaza,
  imposing such a requirement, or                          198 P.3d at 1221; Mid Century Ins. Co. v. Gates
                                                           Rubber Co., 43 P.3d 737, 739 (Colo.App.2002).
    (b) the clause is ambiguous, and that ambiguity
                                                           Therefore, we must strive to effectuate the contract-
  should he resolved against Lafarge under the rel-
                                                           ing parties' intent, as determined primarily from the
  evant extrinsic evidence.
                                                           contract language. East Ridge, 109 P.3d at 974;
    (5) The court erred in determining that K.E.C.I.       Boulder Plaza, 198 P.3d at 1221. To do this, we
  had breached the contractual duty to insure be-          look to the language of the provision at issue, giv-
  cause the issue of breach was not before the             ing the words and phrases used therein their plain
  court.                                                   and ordinary meanings, and to any other related
                                                           provisions so *686 as to interpret the contract in a
    We address these contentions in turn.                  way that harmonizes and gives effect to all its pro-
                                                           visions. East Ridge, 109 P.3d at 974; Boulder
               A. Standard of Review                       Plaza, 198 P.3d at 1221; Mid Century, 43 P.3d at
     We review a district court's entry of summary         739.
judgment de novo. A.C. Excavating v. Yacht Club II
Homeowners Ass'n, Inc., 114 P.3d 862, 865                       If, after applying these principles, we conclude
(Colo.2005). The construction of a contract                that the provision is unambiguous, we must apply it
(including the question whether the contract is am-        as written. B & B Livery, Inc. v. Riehl, 960 P.2d
biguous) is a question of law, which we also review        134, 136 (Colo.1998); Mapes v. City Council, 151
de novo. East Ridge of Fort Collins, LLC v. Lar-           P.3d 574, 577 (Colo.App.2006). A contract provi-
imer & Weld Irrigation Co., 109 P.3d 969, 974              sion is ambiguous “ ‘if it is fairly susceptible to
(Colo.2005); Boulder Plaza Residential, LLC v.             more than one interpretation.’ ” Dorman v. Petrol
Summit Flooring, LLC, 198 P.3d 1217, 1220                  Aspen, Inc., 914 P.2d 909, 912 (Colo.1996)
(Colo.App.2008).                                           (quoting Fibreglas Fabricators, Inc. v. Kylberg,
                                                           799 P.2d 371, 374 (Colo.1990)); accord East
         B. Construction of the Subcontract                Ridge, 109 P.3d at 974. However, the mere fact the
                1. Duty to Indemnify                       parties express different opinions as to the meaning
      a. Construction of the Indemnity Clause              of the provision does not itself establish that there
    [1] The indemnity clause at issue here, section        is an ambiguity. Cherokee Metropolitan Dist. v.
10(b) of the subcontract, provides as follows:             Simpson, 148 P.3d 142, 146 (Colo.2006); East
                                                           Ridge, 109 P.3d at 974.




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 24 ofPage
                                                                        48 7
250 P.3d 682
(Cite as: 250 P.3d 682)




     [3][4][5][6] In construing the indemnity clause       other legal proceedings” for damage or injuries to
here, we are also mindful of the following prin-           property or persons “in any way arising out of, con-
ciples:                                                    nected with or resulting from the exercise by [the
                                                           indemnitor] of the rights granted” by the contract.
  • An indemnity provision that a party contends           Public Service Co., 829 P.2d at 1282. The court
  renders the indemnitor liable for the indemnitee's       held that this clause unambiguously required the in-
  conduct must contain “ ‘clear and unequivocal            demnitor to indemnify the indemnitee for the in-
  language to that effect.’ ” Public Service Co. v.        demnitee's own negligence. In so holding, the court
  United Cable Television of Jeffco, Inc., 829 P.2d        found it significant that the clause referred to
  1280, 1283 (Colo.1992) (quoting Williams v.              “liabilities” and broadly covered such liabilities “in
  White Mountain Constr. Co., 749 P.2d 423, 426            any way arising out of, connected with or resulting
  (Colo.1988)); accord Boulder Plaza, 198 P.3d at          from” the indemnitor's exercise of its contractual
  1221. However, the failure to refer specifically to      rights. Id. at 1283.
  the indemnitee's negligent conduct in the agree-
  ment does not render “an otherwise unambiguous                The indemnity clause here similarly covers La-
  indemnity provision insufficient to indemnify the        farge's “liability” and encompasses such liability
  indemnitee from its own negligence.” Public Ser-         “arising in whole or in part” from K.E.C.I.'s acts
  vice Co., 829 P.2d at 1284.                              and omissions. Though the language of the clause
                                                           here is somewhat different from that in the clause at
  • The general rule is that “indemnity agreements         issue in Public Service Co., those differences are
  which purport to indemnify for the negligent con-        not qualitatively such as to convince us that the two
  duct of an indemnitee must be strictly con-              clauses are functionally distinguishable.
  strued....” Id. And though there has been “a grow-
  ing trend to relax the rule of strict construction in         The cases on which K.E.C.I. relies are distin-
  construing indemnity contracts in commercial             guishable, either because of differences in contrac-
  settings,” id. at 1285, it remains the rule that “ ‘a    tual language or governing law. For example, in
  contractual provision should not be construed to         Boulder Plaza, a division of this court held that an
  permit an indemnitee to recover for his own neg-         indemnity clause did not require the indemnitor to
  ligence unless the court is firmly convinced that        indemnify the *687 indemnitee for its own negli-
  such an interpretation reflects the intention of the     gence, principally because the clause did not pur-
  parties.’ ” Id. at 1283–84 (quoting United States        port to cover the indemnitee's “liabilities” and did
  v. Seckinger, 397 U.S. 203, 211 [90 S.Ct. 880, 25        not broadly cover any liability arising “in any way”
  L.Ed.2d 224] (1970)); accord Boulder Plaza, 198          from the indemnitor's acts. Boulder Plaza, 198 P.3d
  P.3d at 1221.                                            at 1222.

     We conclude that the indemnity clause unam-                In Englert v. The Home Depot, 389 N.J.Super.
biguously requires K.E.C.I. to indemnify Lafarge           44, 911 A.2d 72 (N.J.Super.Ct.App.Div.2006), the
for Lafarge's own negligence where Lafarge's liab-         clause did not expressly cover the indemnitee's li-
ility arises out of any incident which is at least par-    ability, the obligation applied only “to the extent”
tially the result of K.E.C.I.'s acts or omissions.         the injury was caused by the indemnitor's acts, and
                                                           New Jersey law (unlike Colorado law) required that
    The provision at issue here is indistinguishable       the indemnitee's negligence or fault be referred to
in principle from the one at issue in Public Service       in the agreement. The clause at issue in Ostuni v.
Co. That provision stated that the indemnitor would        Town of Inlet, 64 A.D.3d 854, 881 N.Y.S.2d 678
“save and hold harmless” the indemnitee “from and          (2009), was worded similarly to the one at issue in
against all claims, liabilities, causes of action, or      Englert. And New York law voided any indemnity




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 25 ofPage
                                                                        48 8
250 P.3d 682
(Cite as: 250 P.3d 682)




agreement purporting to hold an indemnitor re-              indemnity is expressly conditioned on its fault in
sponsible for the indemnitee's acts.                        fact. Nothing in the clause indicates that a mere al-
                                                            legation of fault triggers liability. Indeed, the clear
    Nor are we persuaded that any alleged disparity         language of the clause is to the contrary. See
in bargaining power matters here. The clause is not         Cyprus Amax Minerals Co. v. Lexington Ins. Co.,
ambiguous. The contract was bargained for: it was           74 P.3d 294, 300 (Colo.2003) (“the duty to indem-
not one of adhesion. K.E.C.I. cites no authority for        nify is only triggered where the [provision] actually
the proposition that a mere disparity in bargaining         covers the alleged harm”); Constitution Assocs. v.
power between two commercial entities renders an            New Hampshire Ins. Co., 930 P.2d 556, 563
unambiguous indemnity clause either ambiguous or            (Colo.1996) (same); Hecla Mining Co. v. New
unenforceable.                                              Hampshire Ins. Co., 811 P.2d 1083, 1089–90
                                                            (Colo.1991) (same; also noting that whether the
    In sum, we reject K.E.C.I.'s contentions that
                                                            duty to indemnify is triggered is “a question of fact
the indemnity clause unambiguously requires
                                                            to be decided by the trier of fact”).
K.E.C.I. to indemnify Lafarge only for K.E.C.I.'s
negligence or, alternatively, is ambiguous in that               [8] The district court's alternative conclusion
regard. It unambiguously requires K.E.C.I. to in-           that K.E.C.I. waived its right to contest its obliga-
                                          FN1
demnify Lafarge for Lafarge's negligence.                   tion to indemnify Lafarge by breaching its duty to
                                                            defend is also contrary to Colorado law. Because
         FN1. Having concluded that the indemnity
                                                            the duties to defend and to indemnify are “separate
         clause is unambiguous, we also conclude
                                                            and distinct,” Cyprus Amax, 74 P.3d at 299; Hecla
         that the district court did not err in refusing
                                                            Mining, 811 P.2d at 1086 n. 5, the former duty is
         to consider K.E.C.I.'s extrinsic evidence of
                                                            triggered more easily than the latter, Constitution
         its meaning. See Public Service Co. v.
                                                            Assocs., 930 P.2d at 563, and a party may have a
         Meadow Island Ditch Co. No. 2, 132 P.3d
                                                            duty to defend but not a duty to indemnify, id., a
         333, 339 (Colo.2006) (while extrinsic
                                                            party's breach of the duty to defend does not pre-
         evidence of local usage and circumstances
                                                            clude it from contesting its alleged duty to indemni-
         surrounding the making of the contract
                                                            fy. Bainbridge, Inc. v. Travelers Cas. Co., 159 P.3d
         may be considered in determining whether
                                                            748, 756 (Colo.App.2006); McGowan v. State
         an ambiguity exists, the court may not con-
                                                            Farm Fire & Cas. Co., 100 P.3d 521, 527
         sider the parties' extrinsic expressions of
                                                            (Colo.App.2004); accord Signature Development
         intent for that purpose).
                                                            Cos. v. Royal Ins. Co., 230 F.3d 1215, 1221–22
 b. K.E.C.I.'s Liability Under the Indemnity Clause         (10th Cir.2000) (applying Colorado law); *688
     [7] We agree with K.E.C.I., however, that the          Flannery v. Allstate Ins. Co., 49 F.Supp.2d 1223,
district court erred in determining at the summary          1227–29 (D.Colo.1999) (applying Colorado law).
judgment stage that K.E.C.I. is liable to Lafarge un-
                                                                We are not persuaded that Burlington Northern
der the indemnity clause.
                                                            R.R. Co. v. Stone Container Corp., 934 P.2d 902
     The district court correctly ruled that K.E.C.I.       (Colo.App.1997), on which Lafarge relies, requires
is liable under the clause only if it was partially at      a different result. In that case, which involved an
fault. In further determining that K.E.C.I. had             insured's claim against the insurer, the act trigger-
breached the obligation, however, the court appar-          ing the indemnitor's indemnity obligation was un-
ently thought it enough that the plaintiff in the per-      disputed and there had been a trial at which the fact
sonal injury case had alleged that K.E.C.I. was at          finder had concluded that the triggering act had oc-
fault. This was error because K.E.C.I.'s liability for      curred. Id. at 904–05. In holding that an indemnitee




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 26 ofPage
                                                                        48 9
250 P.3d 682
(Cite as: 250 P.3d 682)




is not required to prove “absolute legal liability” to     gering the obligation to indemnify. See Cyprus
be entitled to indemnification for a settlement with       Amax, 74 P.3d at 299; Hecla Mining, 811 P.2d at
the injured party, the division was clearly speaking       1089. The injured party's complaint did so, spe-
of the indemnitee's liability to the injured party. Id.    cifically alleging that both Lafarge and K.E.C.I.
at 906–07; see also id. at 907 (“the indemnitee need       were negligent and that the injuries were the result
only prove that it was potentially liable to the           of “their individual and collective negligent con-
claimant”) (emphasis added). Nothing in that de-           duct.” See Cyprus Amax, 74 P.3d at 299 (question
cision indicates that the indemnitee need not prove        whether the duty to defend is triggered is answered
that the act of the indemnitor triggering the indem-       by looking no further than the four corners of the
nitor's liability occurred if, as here, such an act is     underlying complaint); Hecla Mining, 811 P.2d at
indeed required. Here, that act—K.E.C.I.'s negli-          1089–90 (same); see also American Economy Ins.
gence—has not been established.                            Co. v. Schoolcraft, 551 F.Supp.2d 1235, 1239
                                                           (D.Colo.2007) (same; the issue is one of law)
     In sum, we conclude that the district court cor-      (applying Colorado law). Therefore, the district
rectly construed the extent of K.E.C.I.'s duty under       court properly determined on summary judgment
the indemnity clause but that it erred in finding on       that K.E.C.I. had breached its duty to defend.
summary judgment that K.E.C.I. had breached its
      FN2
duty.                                                          It is unclear what damages the district court as-
                                                           sessed for the breach of this duty because the court
         FN2. In light of this conclusion, we need         did not indicate what damages it was assessing for
         not address K.E.C.I.'s argument that the          each breach. But to the extent it awarded damages
         district court erroneously held it liable for     including the settlement amount, the award must be
         punitive damages paid by Lafarge. All is-         reversed because such an award depends on wheth-
         sues concerning breach of the duty to in-         er K.E.C.I. breached its duty to indemnify. That is-
         demnify and damages remain to be re-              sue has yet to be determined.
         solved in the district court.
                                                                       3. Duty to Provide Insurance
                  2. Duty to Defend                             Section 9 of the subcontract sets forth
    [9] K.E.C.I. challenges the district court's con-      K.E.C.I.'s obligation to provide insurance. It states,
clusion that it breached its duty to defend on the         in relevant part:
same basis it challenges the court's conclusion that
the indemnity clause requires it to indemnify La-               (a) ... [K.E.C.I.] shall also provide and main-
farge for Lafarge's own negligence—that the clause           tain ... in full force and effect during the term of
limits the indemnity obligation to K.E.C.I.'s own            this Subcontract insurance ... in a company satis-
            FN3
negligence.       We have rejected that proposed             factory to [Lafarge], protecting [K.E.C.I.],
construction of the clause, however, and therefore           [CDOT], and [Lafarge] against liability from
(and for the reason noted below) K.E.C.I.'s chal-            damages because of injuries, including death,
lenge to the court's finding that it breached its duty       suffered by persons other than employees of
to defend also fails.                                        [K.E.C.I.] ... arising from and growing *689 out
                                                             of [K.E.C.I.'s] operations in connection with the
         FN3. The parties agree that the indemnity           performance of this Subcontract.
         clause imposes some duty to defend.
                                                               (b) Required insurance shall be in the amounts
     Unlike the duty to indemnify at issue here,             and coverage's [sic] specified by the contract with
K.E.C.I.'s duty to defend was triggered so long as           [CDOT]. In no event shall the required insurance
the injured party alleged facts even potentially trig-       be less than the following: Such insurance cover-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 27 of 48
                                                                     Page 10
250 P.3d 682
(Cite as: 250 P.3d 682)




  ing personal injuries or death shall be in the sum       as relevant here: “Any coverage provided hereunder
  of not less than $250,000 for one person and not         shall be excess over any other valid and collectible
  less than $500,000 for a single accident.... Writ-       insurance available to the additional insured wheth-
  ten proof satisfactory to [Lafarge] of compliance        er primary, excess, contingent or on any other basis
  with this section shall be furnished to [Lafarge]        unless a contract specifically requires that this in-
  before any work is performed under this Subcon-          surance be primary or you request that it apply on a
  tract....                                                primary basis.”

     The contract between Lafarge and CDOT (with                A Lafarge representative conceded in his de-
which section 9 of the subcontract requires K.E.C.I.       position that Lafarge received the certificate before
to comply) obligates Lafarge to provide                    K.E.C.I. began the work, a Lafarge employee re-
“[c]omprehensive general liability” insurance and          viewed the certificate, and Lafarge voiced no objec-
to “name [CDOT] as an additional named insured”            tion to the certificate or the nature of the coverage
on that policy. Neither that contract nor CDOT's           until after the accident.
specifications, however, state that the liability in-
surance Lafarge was obligated to provide must be               K.E.C.I. contends the district court erred in
“primary”—that is, insurance that is not contingent        concluding that it breached the obligation to
on the exhaustion of another policy of insurance.          provide insurance because: (1) it was contractually
See Allstate Ins. Co. v. Avis Rent–A–Car System,           required to provide coverage only for its own negli-
Inc., 947 P.2d 341, 346 (Colo.1997) (“When one             gence and not for any negligence of Lafarge; and
insurance policy is ‘primary’ and the other policy is      (2) there was no contractual obligation that it
‘excess,’ the primary insurer pays for damages up          provide primary, as opposed to excess, insurance.
to the limits of its policy; when that policy is ex-       We disagree with K.E.C.I.'s first contention but
hausted, the excess insurer covers any remaining           agree with its second.
damages up to the limits of its policy.”); DiCocco
                                                               K.E.C.I.'s contentions, and Lafarge's respons-
v. National General Ins. Co., 140 P.3d 314, 316
                                                           ive arguments, present questions of contract inter-
(Colo.App.2006) (“Primary insurance ... provides
                                                           pretation and application of the law which, as noted
coverage of a given loss at the ‘first level’ of loss,
                                                           above, we review de novo.
after satisfaction of any deductible.”); Black's Law
Dictionary 815 (8th ed. 2004). (There is some in-                  a. Coverage for Lafarge's Negligence
dication in the record that CDOT changed its spe-               [10][11] It is undisputed that K.E.C.I. was ob-
cifications in 2005 to expressly require primary in-       ligated to provide Lafarge with “liability” insurance
surance. But actual evidence of that change is not in      naming Lafarge as an insured party. Liability insur-
the record and, in any event, any such change oc-          ance compensates “an insured ... for damages the
curred after the parties entered into the subcon-          insured must pay to others because of [its] own ac-
tract.)                                                    tions.” Village Homes of Colo., Inc. v. Travelers
                                                           Cas. & Surety Co., 148 P.3d 293, 298
     Before beginning work on the project, K.E.C.I.
                                                           (Colo.App.2006), aff'd, 155 P.3d 369 (Colo.2007);
tendered a certificate of insurance to Lafarge indic-
                                                           accord Browder v. United States Fidelity & Guar-
ating that Lafarge was an additional named insured
                                                           anty Co., 893 P.2d 132, 134 n. 3 (Colo.1995)
on K.E.C.I.'s comprehensive general liability insur-
                                                           (citing Rowland H. Long, Law of Liability Insur-
ance policy. Specifically, the certificate stated that
                                                           ance § 1.01 (1994)), overruled in part by Hoang v.
Lafarge was an “additional insured as respects gen-
                                                           Assurance Co., 149 P.3d 798, 804 (Colo.2007); see
eral liability coverage, per Add'l Insd Endr CG8330
                                                           also 15 Holmes' Appleman on Insurance 2d §
97199) (attached).” The attached document stated,
                                                           111.1, at 10 (2000); 20 Holmes' Appleman on In-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 28 of 48
                                                                     Page 11
250 P.3d 682
(Cite as: 250 P.3d 682)




surance 2d *690 § 129.1, at 4; Black's Law Diction-        on appeal, that liability insurance and general liab-
ary 817. Therefore, the plain meaning of the term          ility insurance are synonymous with primary insur-
“liability insurance” refutes K.E.C.I.'s contention        ance. We conclude that Lafarge is incorrect, and
that the insurance needed only to cover K.E.C.I.'s         that the district court accordingly erred in appar-
negligence.                                                ently accepting Lafarge's argument.

     The subcontract also clearly expresses an intent          [13] In contrast to primary insurance—which,
that the insurance cover Lafarge's own negligence          as noted above, covers an injury at the first level
(subject to an important limitation noted below) be-       before any other insurance is exhausted—excess in-
cause it essentially required K.E.C.I. to provide the      surance “is activated only after the magnitude of
insurance coverage Lafarge was required to provide         the loss exceeds the limits of the applicable
CDOT for Lafarge's actions (again, subject to an           ‘primary’ insurance.” DiCocco, 140 P.3d at 316;
important limitation noted below). Contrary to             accord Allstate Ins. Co., 947 P.2d at 346; see also
K.E.C.I.'s assertion, there is nothing illogical or un-    Black's Law Dictionary 816.
reasonable about such a requirement. Such a re-
quirement is not an uncommon feature of construc-               [14][15] The fact that a policy is excess, as op-
tion contracts. See, e.g., Pav–Lak Industries, Inc. v.     posed to primary, does not affect whether it consti-
Arch Ins. Co., 56 A.D.3d 287, 866 N.Y.S.2d 671             tutes liability (including comprehensive general li-
(2008); Clapper v. County of Albany, 188 A.D.2d            ability) insurance. Whether insurance is liability in-
774, 591 N.Y.S.2d 258 (1992).                              surance depends on the nature and extent of the
                                                           conduct, injuries, claims, and damages covered. A
      Nonetheless, the obligation for coverage is lim-     liability policy can be primary or excess, may cover
ited to injuries “arising from and growing out of          liability on a “pro rata” basis, or may contain an
[K.E.C.I.'s] operations in connection with the per-        “escape” clause providing that it will not cover any
formance of the Subcontract.” Therefore, the oblig-        loss that is also covered by another policy. See All-
ation to provide insurance covering Lafarge's liabil-      state Ins. Co. v. Frank B. Hall & Co., 770 P.2d
ity, including for Lafarge's own acts, exists only for     1342, 1345 (Colo.App.1989). Again, even a cursory
situations where the injury has the connection to          review of insurance case law reveals numerous
K.E.C.I.'s work mandated by the express language           cases involving excess comprehensive general liab-
of section 9 of the subcontract.                           ility insurance policies. See, e.g., Hartford Accident
                                                           & Indemnity Co. v. Pacific Mut. Life Ins. Co., 861
     We express no opinion on whether K.E.C.I.             F.2d 250, 252 (10th Cir.1988); Colony Ins. Co. v.
breached its duty to provide insurance in this regard      Georgia–Pacific, LLC, 27 So.3d 1210, 1213
because the policy is not part of the record. Further,     (Ala.2009); River Village I, LLC v. Central Ins.
any determination of damages for any such breach           Cos., 396 Ill.App.3d 480, 335 Ill.Dec. 707, 919
is premature at this stage because no determination        N.E.2d 426 (2009); Englert, 911 A.2d at 81–82. In-
has been made either that the required connection          deed, in Englert, the court squarely held that a sub-
to K.E.C.I.'s performance of the subcontract exists        contractor satisfied its contractual obligation to
or that the policy fails to cover an injury for which      name the contractor as an additional insured on a
K.E.C.I. was required to provide coverage and for          comprehensive general liability policy by naming it
which Lafarge has been held liable.                        as an additional insured on an excess policy; the
                                                           subcontract did not require primary coverage. 911
                b. Primary or Excess
                                                           A.2d at 74–75, 81–82.
    [12] Though neither the contract nor the sub-
contract expressly requires primary insurance cov-              We observe that because liability coverage
erage, Lafarge argued in the district court, as it does    (including comprehensive general liability cover-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 29 of 48
                                                                     Page 12
250 P.3d 682
(Cite as: 250 P.3d 682)




age) may be excess, many parties desiring primary          Lafarge North America, Inc. v. K.E.C.I. Colorado,
coverage have taken to explicitly requiring primary        Inc.
coverage (as CDOT may do now). See, e.g., *691             250 P.3d 682
Meyer v. Lee Collins Air Conditioning Co., No. 1
CA–CV 07–0188, 2008 WL 2154798, at *1                      END OF DOCUMENT
(Ariz.Ct.App. May 20, 2008) (unpublished memor-
andum decision); Georgia–Pacific LLC v. Swift
Transp. Corp., No. W2008–00344–COA–R3–CV,
2008 WL 4380885, at *2 (Tenn.Ct.App. Sept.29,
2008) (unpublished decision); Bituminous Cas.
Corp.     v.     McCarthy      Bldg.    Cos.,    No.
04–08–00152–CV, 2009 WL 962536, at *2
(Tex.App. Apr.8, 2009) (unpublished memorandum
opinion). It is undisputed that Lafarge did not do so
here.

     We therefore conclude that the subcontract
does not unambiguously require K.E.C.I. to provide
primary insurance. Lafarge offered no extrinsic
evidence of the parties' intent to require primary in-
surance. The only extrinsic evidence of the point
was Lafarge's acceptance, without objection, of
K.E.C.I.'s certificate clearly showing excess cover-
age. Given that evidence, we must therefore resolve
the ambiguity against Lafarge as the party that draf-
ted the subcontract. Allstate Ins. Co., 947 P.2d at
346; Moland v. Indus. Claim Appeals Office, 111
P.3d 507, 510–11 (Colo.App.2004); see also East
Ridge, 109 P.3d at 974–75 (where a contract is am-
biguous, the parties' conduct before the controversy
arose is a reliable test of their interpretation of the
agreement).

    It follows that K.E.C.I. could not have
breached the subcontract by failing to provide
primary insurance.

                  III. Conclusion
    The judgment is affirmed in part and reversed
in part, and the case is remanded to the district
court for further proceedings consistent with this
opinion.

Judge ROMÁN and Judge MILLER concur.

Colo.App.,2010.




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 30 of 48

                                                                                                            Page 1
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




                                                                      354k84 Injuries to Stevedores and Other
                                                            Independent Contractors and Their Employees
            United States District Court,                                   354k84(1) k. In General; Liability.
                  E.D. Louisiana.                           Most Cited Cases
                                                                LHWCA and Jones Act are mutually exclusive,
               Gary FOSTER,
                                                            since masters and crewmembers are excluded from
                     v.
                                                            coverage under LHWCA. Longshore and Harbor
       SUBSEA INTERNATIONAL, INC.,
                                                            Workers' Compensation Act, § 1 et seq., 33
                No. Civ.A. 96-4056.                         U.S.C.A. § 901 et seq.; Jones Act, 46 App.U.S.C.A.
                  July 27, 1998.                            § 688.

     Employee injured aboard pipe-laying barge              [2] Seamen 348        2
brought Jones Act suit against employer and vessel
                                                            348 Seamen
owner. Vessel owner sought indemnity from em-
                                                                348k2 k. Who Are Seamen. Most Cited Cases
ployer under terms of master service agreement,
                                                                 Requirements for seaman status under Jones
and from employer's liability insurer. On cross-
                                                            Act are: (1) employee's duties must contribute to
motions for summary judgment, the District Court,
                                                            function of vessel or to accomplishment of its mis-
Charles Schwartz Jr., J., held that: (1) issue of fact
                                                            sion, and (2) seaman must have connection to ves-
existed as to whether employee was seaman under
                                                            sel in navigation, or to an identifiable group of such
Jones Act; (2) allegations of employee's complaint
                                                            vessels, that is substantial in terms of both its dura-
were within indemnity provision of master service
                                                            tion and its nature. Jones Act, 46 App.U.S.C.A. §
contract between employer and vessel owner; (3)
                                                            688.
Longshore and Harbor Workers' Compensation Act
(LHWCA) exclusiveness provision did not relieve             [3] Federal Civil Procedure 170A           2512
employer of obligation to name vessel owner as ad-
ditional insured; and (4) issue of fact existed as to       170A Federal Civil Procedure
whether liability policy covered vessel owner.                 170AXVII Judgment
                                                                   170AXVII(C) Summary Judgment
    Ordered accordingly.                                              170AXVII(C)2 Particular Cases
                                                                          170Ak2512 k. Shipping and Seamen,
                  West Headnotes
                                                            Cases Involving. Most Cited Cases
[1] Seamen 348        29(1)                                     Genuine issue of material fact existed as to
                                                            whether employee working as welder's helper on
348 Seamen                                                  pipe-laying barge was “seaman” under Jones Act,
   348k29 Personal Injuries                                 where employee had been on barge for only two
      348k29(1) k. In General. Most Cited Cases             and one-half weeks but was performing function es-
                                                            sential to mission of vessel, precluding summary
Shipping 354        84(1)                                   judgment on vessel owner's indemnity claim
                                                            against employer and employer's liability insurer
354 Shipping
                                                            for vessel owner's Jones Act liability to employee
     354V Rights and Liabilities of Vessels and
                                                            for injuries suffered on barge. Jones Act, 46
Owners in General
                                                            App.U.S.C.A. § 688.
      354k78 Torts




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 31 ofPage
                                                                        48 2
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




[4] Indemnity 208       31(7)                                   217XII Procurement of Insurance by Persons
                                                           Other Than Agents
208 Indemnity                                                    217k1701 k. In General. Most Cited Cases
   208II Contractual Indemnity                                 Alleged status of employee injured aboard
       208k31 Construction and Operation of Con-           pipe-laying vessel as “longshoreman” rather than
tracts                                                     “seaman” did not relieve employer of duty to in-
          208k31(7) k. Duty to Defend. Most Cited          demnify vessel owner as to injury pursuant to em-
Cases                                                      ployer's master service contract obligation to name
   (Formerly 208k15(6))                                    vessel owner as additional insured on its liability
                                                           insurance, since LHWCA exclusiveness provision
Insurance 217       2914
                                                           did not void obligation. Longshore and Harbor
217 Insurance                                              Workers' Compensation Act, § 5(b), 33 U.S.C.A. §
   217XXIII Duty to Defend                                 905(b).
       217k2912 Determination of Duty
                                                           [7] Workers' Compensation 413           2142.30
          217k2914 k. Pleadings. Most Cited Cases
     Under Louisiana law, determination of whether         413 Workers' Compensation
indemnitor or insurer is obligated to defend indem-              413XX Effect of Act on Other Statutory or
nitee or insured under terms of indemnity or insur-        Common-Law Rights of Action and Defenses
ance contract depends on pleadings in light of con-                413XX(B) Action by Third Person Against
tract provisions.                                          Employer
                                                                    413XX(B)1 In General
[5] Indemnity 208       69
                                                                         413k2142.10 Indemnity or Contribu-
208 Indemnity                                              tion
   208III Indemnification by Operation of Law                                413k2142.30 k. Longshoremen or
       208k63 Particular Cases and Issues                  Seamen, Injuries To. Most Cited Cases
              208k69 k. Maritime Cases. Most Cited              LHWCA exclusiveness provision does not void
Cases                                                      an agreement by an employer to name a vessel
   (Formerly 208k13.2(7))                                  owner as an additional assured on its liability insur-
     Allegations in employee's Jones Act complaint         ance policies. Longshore and Harbor Workers'
against vessel owner and employer that employee            Compensation Act, § 5(b), 33 U.S.C.A. § 905(b).
was seaman and was injured while performing
                                                           [8] Federal Civil Procedure 170A          2501
welding work on vessel were within indemnity pro-
vision of master service contract under which em-          170A Federal Civil Procedure
ployer agreed to hold vessel owner harmless against           170AXVII Judgment
such claims, and thus employer had duty to defend                170AXVII(C) Summary Judgment
as to vessel owner, regardless of whether employee                   170AXVII(C)2 Particular Cases
might eventually be determined to be longshoreman                         170Ak2501 k. Insurance Cases. Most
rather than seaman and thus not within Jones Act.          Cited Cases
Longshore and Harbor Workers' Compensation Act,                Ambiguity in employer's liability insurance
§ 1 et seq., 33 U.S.C.A. § 901 et seq.; Jones Act, 46      policy, consisting of conflict between alternate em-
App.U.S.C.A. § 688.                                        ployer endorsement and definition of “insured”
                                                           which did not include “alternate employer,” created
[6] Insurance 217       1701
                                                           genuine issue of material fact as to policy's cover-
217 Insurance                                              age of vessel owner in connection with on-board in-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 32 ofPage
                                                                        48 3
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




jury to employee, precluding summary judgment on          terms of the master agreement because plaintiff
vessel owner's indemnity claim against insurer in         Gary Foster is a “longshoreman.” These matters
connection with employee's Jones Act suit against         were noticed for hearing on July 8, 1998, but as or-
employer and vessel owner. Jones Act, 46                  al argument was not requested, these matters were
App.U.S.C.A. § 688.                                       submitted for decision on the briefs and documents
                                                          of record. For the reasons set forth herein below,
*455 Leonard Cardenas, III, Baton Rouge, LA,              American Empire's motion for summary judgment
David Lawrence Bateman, David L. Bateman, PLC,            is denied, Sub Sea's motion for summary judgment
Baton Rouge, LA, for Gary Foster.                         is granted in part and denied in part, and C & G's
                                                          motion for summary judgment is denied.
James E. Wright, III, William Joseph Joyce, Jones,
Walker, Waechter, Poitevent, Carrere & Denegre,                            BACKGROUND
New Orleans, LA, William Sean O'Neil, O'Neil                  Plaintiff Gary Foster was part of a crew of ap-
Eichin, New Orleans, LA, Ronald Adams Johnson,            proximately 8 pipe welders and 15 welder's helpers
Johnson, Johnson, Barrios & Yacoubian, New Or-            provided by C & G to work alongside and under the
leans, LA, Rufus C. Harris, III, Alfred Jackson           direction of Sub Sea welders aboard the LB 278, a
Rufty, III, Harris & Rufty, LLC, New Orleans, LA,         pipelaying barge. C & G provided the welding crew
Cindy Teresa Matherne, Sher Garner Cahill Richter         pursuant to a contractual arrangement between Sub
Klein McAlister & Hilbert, LLC, New Orleans, LA,          Sea and C & G. *456 The terms of this contractual
for SubSea Intern., Inc., Curtis Callais Welding,         arrangement were set forth in the Master Service
Inc., C&G Welding, Inc. and St. Martin & Ma-                        FN1
                                                          Contract,      which, inter alia, requires C & G to
honey.                                                    defend, indemnify, and provide certain insurance
                                                          coverage to Sub Sea, protecting Sub Sea from
George James Richaud, Young, Richaud & Myers,
                                                          claims by C & G's employees.
New Orleans, LA, for American Empire Surplus
lines Ins. Co.                                                    FN1. Rec.Doc. No. 65, Ex. “D”.

                                                               While working aboard Sub Sea's pipe laying
               ORDER AND REASONS                                           FN2
                                                          barge LB-278,         plaintiff Gary Foster allegedly
CHARLES SCHWARTZ, Jr., District Judge.
                                                          slipped on a welding lead and extension cord
    Before the Court is Sub Sea International Inc.'s
                                                          (collectively the “welding cables”) laying on the
(“Sub Sea”) motion for summary judgment seeking
                                                          deck of the barge and fell, sustaining injuries.
contractual defense and indemnity from C & G
                                                          Foster initially filed suit against Sub Sea under the
Welding, Inc. (“C & G”), and insurance coverage
                                                          Jones Act. Thereafter, plaintiff filed two amending
from American Empire Surplus Lines Insurance
                                                          complaints for damages, alleging that he was em-
Company (“American Empire”). Both American
                                                          ployed by C & G, and that C & G was responsible
Empire and C & G filed timely opposition with re-
                                                          for his injuries.
spect to this motion. In turn, American Empire filed
a cross motion for summary judgment claiming that                 FN2. At the time of the alleged accident,
the American Empire insurance policy at issue ex-                 plaintiff Gary Foster was working for Sub
cludes Sub Sea from coverage because Sub Sea was                  Sea as part of the contractual arrangement
the owner and operator of the vessel on which                     between C & G and Sub Sea.
plaintiff Gary Foster was injured. Additionally,
counsel for C & G filed a cross motion for sum-                Four motions are currently pending before the
mary judgment claiming that it does not owe Sub           Court. Sub Sea seeks summary judgment holding
Sea contractual defense and indemnity under the           that the indemnity provisions contained in the Mas-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 33 ofPage
                                                                        48 4
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




ter Service Contract are enforceable. C & G op-            ing Dismissal of Sub Sea's Cross Claim for In-
poses this motion and simultaneously seeks sum-            demnity and Defense
mary judgment holding that it does not owe a duty               Sub Sea submits that the Master Service Con-
to defend or indemnify Sub Sea because plaintiff           tract between Sub Sea and C & G is a maritime
Gary Foster was a longshoreman within the mean-            contract and that the indemnity provisions con-
ing of the Longshoremen and Harbor Workers                 tained therein are enforceable. Notwithstanding
Compensation Act (“LHWCA”). Sub Sea also                   plaintiff's complaint, C & G contends that Gary
seeks summary judgment holding that it is covered          Foster is not a seaman, but a longshoreman who
under the terms of American Empire's insurance             was injured on navigable waters. C & G submits
         FN3
policy          (American Empire Policy No.                that because Foster is a longshoreman, the contrac-
6EX00771) as an alternate employer. Conversely,            tual obligations between Sub Sea and C & G are
American Empire seeks summary judgment holding             governed by section 905(b) of the LHWCA. C & G
that Sub Sea is not covered under the terms of the         claims that section 905(b) voids any indemnity ob-
subject insurance policy. Each of these motions will       ligation of the longshoreman's employer*457 [C &
be addressed in turn.                                      G] to the vessel owner [Sub Sea].

         FN3. Rec.Doc. No. 65, Ex. “E”.                         [1] In order to unravel the Gordian knot, the
                                                           Court must first determine whether summary judg-
                     ANALYSIS                              ment is appropriate with respect to plaintiff Gary
     Summary Judgment is appropriate when “all of          Foster's status as a “seaman” within the meaning of
the pleadings, depositions, answers to interrogator-                        FN4
                                                           the Jones Act.         Gary Foster claims that he
ies, admissions on file, together with affidavits, if      worked on Sub Sea's barge 278 for approximately
any, show that there is no genuine issue as to any         two and a half weeks before his accident. See,
material fact and that the moving party is entitled to     Rec.Doc. No. 70, Ex. “C” (Memorandum in Oppos-
judgment as a matter of law.” Fed.R.Civ.P. 56(c).          ition to Sub Sea's Motion for Summary Judgment).
The moving party need not support its motion with          Foster admitted that he had never worked on a Sub
affidavits or other evidence, but to defeat a motion       Sea barge prior to this particular job. Id. Foster also
for summary judgment the non-movant must                   admitted that the vessels on which he had previ-
present evidence sufficient to establish the exist-        ously worked were neither owned by C & G nor C
ence of each element of his claim as to which he           & G's affiliated company, Curtis Callais Welding.
will have the burden of proof at trial. Celotex Corp.      Additionally, Foster testified that the various barges
v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552,       on which he worked did not have anything to do
91 L.Ed.2d 265 (1986). The inferences drawn from           with one another. Id.
the underlying facts, however, must be viewed in a
light most favorable to the non-moving party. Mat-                  FN4. It is well established that the LHW-
sushita Elec. Industrial Co. v. Zenith Radio Corp.,                 CA and the Jones Act are mutually exclus-
475 U.S. 574, 588, 106 S.Ct. 1348, 1356, 89                         ive, as masters and crewmembers are ex-
L.Ed.2d 538 (1986). Finally, the Court notes that                   cluded from coverage under the LHWCA.
the substantive law determines materiality of facts,                See, Chandris v. Latsis, 515 U.S. at
and only “facts that might affect the outcome of the                355-358, 115 S.Ct. at 2183.
suit under the governing law will properly preclude
the entry of summary judgment.” Anderson v.                    [2] There are two essential requirements for
Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct.          seaman status under the Jones Act.
2505, 2510, 91 L.Ed.2d 202 (1986).
                                                             “First ... an employee's duties must contribute to
I. C & G's Motion for Summary Judgment Seek-                 the function of the vessel or to the accomplish-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 34 ofPage
                                                                        48 5
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




  ment of its mission.... Second, and most import-         welders, performing the functions of a welder's
  ant for our purposes here, a seaman must have a          helper on a pipe laying barge. This job was essen-
  connection to a vessel in navigation (or to an           tial to the mission of the vessel. Furthermore, while
  identifiable group of such vessels) that is sub-         working on the barge in the Galveston Island Area,
  stantial in terms of both its duration and its           Block 301, plaintiff was certainly exposed to the
  nature.”                                                 perils of the sea, the protection from which was the
                                                           purpose of the Jones Act. As it is the temporal ele-
     Chandris, Inc. v. Latsis, 515 U.S. 347, 368, 115      ment and the nature of the activities performed that
S.Ct. 2172, 2179, 132 L.Ed.2d 314 (1995). The Su-          determine seaman status, the Court cannot conclude
preme Court has specifically rejected a “voyage            as a matter of law that Foster's relationship with
test” of seaman status, concluding that an employee        Sub Sea's Barge 278 was too short to satisfy the
who was injured while performing his duties on a           durational requirement imposed by Chandris. See,
vessel on the high seas was not necessarily a Jones        *458Foulk v. Donjon Marine Co., Inc., 144 F.3d
Act seaman. Id., 515 U.S. at 358-364, 115 S.Ct. at         252 (3rd Cir.1998) (Holding that an intended 10
2184-2188.                                                 day term of employment aboard a vessel was suffi-
                                                           cient to create a genuine issue of material fact with
     C & G contends that plaintiff Foster cannot es-
                                                           respect to whether plaintiff (a diver) was a Jones
tablish seaman status because he lacks a connection
                                                           Act seaman). Accordingly, C & G's Motion for
to a vessel in navigation that is substantial in terms
                                                           Summary Judgment seeking dismissal of Sub Sea's
of both its duration and its nature. The issue before
                                                           cross claims against it are denied.
the Court, distilled to its essence, is whether Foster
may qualify for Jones Act status when his duration-        II. Sub Sea's Motion for Summary Judgment
al connection to Sub Sea Barge 278 was for a time          Regarding Contractual Defense and Indemnity
period between ten days and two and a half weeks.          Allegedly Owed by C & G
                                                                Sub Sea submits that the Master Service Con-
     The Supreme Court stated in Chandris that the
                                                           tract (Rec.Doc. No. 65, Ex. “D”) (the “agreement”)
ultimate inquiry in resolving seaman status is
                                                           between Sub Sea and C & G is a maritime contract
“whether the worker in question is a member of the
                                                           and that the indemnity provisions contained therein
vessel's crew or simply a land-based employee who
                                                           are enforceable. C & G does not contest that the
happens to be working on the vessel at a given
                                                           agreement is a maritime contract, but asserts that it
time.” Id. at 2191. While the law requires that a
                                                           does not have a duty to indemnify Sub Sea because
“seaman” have a connection to a vessel that is sub-
                                                           the plaintiff is a longshoreman, and such indemnity
stantial in terms of both duration and nature, the in-
                                                           agreements are voided by section 905(b) of the
quiry is one encompassing the totality of the cir-
                                                           Longshoremen's and Harbor Worker's Compensa-
cumstances. Id. at 2190. The analysis of seaman
                                                           tion Act.
status, and ultimately of whether an employee's
connections are substantial in duration and nature,             [4] The Court first addresses the duty of the in-
may include a multiplicity of factors. See, Bertrand       demnitor to defend. “In determining whether an in-
v. International Mooring & Marine, Inc., 700 F.2d          demnitor or an insurer is obligated to defend an in-
240 (5th Cir.1983). The number of days which               demnitee or insured under the terms of an indem-
plaintiff intended to work aboard Sub Sea's Barge          nity or insurance contract, the Louisiana courts look
278 is only one such factor.                               exclusively to the pleadings in light of the contract
                                                           provisions; the ultimate outcome of the case has no
    [3] In the instant matter, it is clear that Foster
                                                           effect upon the duty to defend.” Sullen v. Missouri
was performing the “normal crew service” of Sub
                                                           Pacific R. Co., 750 F.2d 428, 433 (5th Cir.1985).
Sea's barge 278. He worked alongside Sub Sea




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 35 ofPage
                                                                        48 6
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




   [5] The indemnitee provision contained in the                CONTRACTOR [C & G] agrees to procure,
Master Service Agreement between Sub Sea and C               maintain, and amend, at is sole expense, policies
& G provides:                                                of insurance in the amounts outlined on that cer-
                                                             tain document attached hereto as Exhibit “A”,
  4. INDEMNITY                                               which may from time to time be changed in ac-
                                                             cordance with COMPANY's [Sub Sea's] request
    ....
                                                             as its needs and requirements change, which cov-
     (b) CONTRACTOR [C & G] shall be respons-                erage shall fully address the liabilities assumed
  ible, and COMPANY [Sub Sea] shall never be li-             hereunder.
  able for property damage suffered by any person,
                                                               ... Said policies shall further contain endorse-
  firm or corporation, for personal injury to or
                                                             ments naming COMPANY as an *459 additional
  death of any person, including, but not limited to,
                                                             insured under said policies and waive the under-
  CONTRACTOR, any of CONTRACTOR's em-
                                                             writers' rights of subrogation in favor of COM-
  ployees or the employees of CONTRACTOR's
                                                             PANY, its affiliates, subsidiaries and joint ven-
  subcontractors, and CONTRACTOR agrees to in-
                                                             turers.
  demnify and hold harmless COMPANY, against
  any and all claims, demands or suits ... which               Rec.Doc. No. 65, Ex. “D”, p. 2, ¶ 3.
  may be brought against COMPANY by any
  party, including, but not limited to, any employee            [7] C & G correctly observes that if plaintiff
  of CONTRACTOR ... in any way arising out of              Gary Foster is a longshoreman within the meaning
  or incident to the work to be performed under this       of the LHWCA, the indemnitee provisions con-
  contract....                                             tained in the Master Service Contract are voided by
                                                                                           FN5
                                                           section 905(b) of the LHWCA.         Although sec-
     Rec.Doc. No. 65, Ex. “D”, p. 2, ¶ 4. In the in-       tion 905(b) of the LHWCA voids indemnitee agree-
stant matter, plaintiff has asserted a claim under the     ments between the employers of longshoremen and
Jones Act against Sub Sea. This type of claim was          a vessel owner, the Fifth Circuit has held that sec-
expressly contemplated by the Master Service Con-          tion 905(b) does not void an agreement by an em-
tract as the alleged injury arose out of the work per-     ployer to name a vessel owner as an additional as-
formed under the instant contract. The allegations         sured on its liability insurance policies. Voisin v.
contained in plaintiff's complaint claim that              Odeco Drilling Co., 744 F.2d 1174 (5th Cir.1984).
plaintiff is a Jones Act “seaman.” Therefore, in so
far as “the duty to defend” is concerned, it is of no              FN5. Section 905(b) provides in pertinent
moment that plaintiff may ultimately be classified                 part:
as a longshoreman since the ultimate outcome of
the case has no effect upon the indemnitor's duty to                 In the event of injury to a person covered
defend. Accordingly, C & G is obligated to defend                    under this chapter caused by the negli-
Sub Sea under the express terms of the indemnific-                   gence of a vessel, then such person ...
ation provisions contained in the Master Service                     may bring an action against such vessel
Contract.                                                            as a third party in accordance with the
                                                                     provisions of section 933 of this title,
    [6] As to the duty to indemnify, Sub Sea aptly                   and the employer shall not be liable to
points out the following provision contained in the                  the vessel for such damages directly or
Master Service Contract:                                             indirectly and any agreements or war-
                                                                     ranties to the contrary shall be void....
  3. INSURANCE




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 Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 36 ofPage
                                                                       48 7
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




            33 U.S.C. § 905(b).                            der American Empire's Policy of Insurance.
                                                                [8] Sub Sea and American Empire have filed
     The insurance contract obtained by C & G              cross motions for summary judgment with respect
through American Empire, ostensibly for the bene-          to the issue of insurance coverage. Summary judg-
fit of Sub Sea, contains the following exclusion:          ment with respect to this issue is premature at this
                                                           stage as the policy at issue contains ambiguous lan-
  B. Exclusions
                                                           guage. Specifically, the policy is ambiguous with
                                                                                                        FN7
    This insurance does not apply to:                      respect to whether an “Alternate Employer”        is
                                                           an “insured” *460 within the meaning of the policy.
    ...                                                    Section IV of the policy defines “Insured” as fol-
                                                           lows:
    4. Any obligation assumed by or imposed upon
    the Insured or us under any Longshoreman and                   FN7. See, Rec.Doc. No. 65, Ex. “E”
    Harbor Workers Compensation Act, workers                       “Alternate Employer Endorsement”.
    compensation, occupational disease, unemploy-
    ment compensation, or disability benefits law,                 ALTERNATE        EMPLOYER        ENDORSE-
    or any similar law;                                            MENT

    Rec.Doc. No. 65 Ex. “E” pp. 1-2. Thus, if                        This endorsement applies only with re-
plaintiff is a longshoreman, C & G has breached its                  spect to bodily injury to your employees
obligation under Section three (3) of the Master                     while in the course of special or tempor-
Service Contract to name Sub Sea as an additional                    ary employment by the alternate employ-
insured. Consequently, C & G owes Sub Sea a de-                      er in the territory named in Item 4 of the
fense and indemnity even if plaintiff is determined                  Declarations. Insurance afforded by this
to be a longshoremen within the meaning of the                       policy will apply as though the alternate
LHWCA. See, Harper v. Intracoastal Truck Lines,                      employer is the insured.
                              FN6
451 So.2d 1289, 1291 (1984).
                                                                     ...
          FN6. In Harper, Roustabout, a contractor,
                                                                     The Insuring Agreements, Exclusions
          was required by its contract with In-
                                                                     and Conditions of this Policy shall apply
          tracoastal, a corporation, to name In-
                                                                     to the alternate employer, exception
          tracoastal as an additional insured with re-
                                                                     Condition 1, Cancellations shall not ap-
          spect to all claims arising out of any work
                                                                     ply to the alternate employer.
          performed by contract labor and personnel
          furnished by Roustabout. Roustabout                1. Insured. The unqualified word “insured”,
          failed to name Intracoastal as an additional       wherever used in this policy, includes:
          insured. The First Circuit held that Roust-
          about's failure to name Intracoastal as an           a) The Named Insured shown in Item 1 of the
          additional insured was a breach of contract          Declarations;
          entitling Intracoastal to an award of ex-
          penses, including attorney's fees, of de-            b) If the Named Insured in Item 1 of the De-
          fending the suit brought by employee. 451            clarations is designated as a partnership or joint
          So.2d 1289, 1290-1291.                               venture, any partner or member thereof but
                                                               only with respect to the conduct of your busi-
III. Sub Sea and American Empire's Cross Mo-                   ness;
tions for Summary Judgment on Coverage Un-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 37 ofPage
                                                                        48 8
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




    c) Your executive officers and directors, but               Rec.Doc. No. 65, Ex. “E”, Amendatory En-
    only with respect to their duties as your of-          dorsement (Watercraft Exclusion) (emphasis ad-
    ficers and directors;                                  ded). The Fifth Circuit has interpreted this clause to
                                                           deny coverage to all insured when an injury occurs
    d) Your stockholders, but only with respect to         on a vessel owned or operated by any insured. See,
    their liability as stockholders.                       Farrell Lines, Inc. v. Insurance Co. of North Amer-
                                                           ica, 789 F.2d 300 (5th Cir.1986); See also, Insur-
    No person or organization is an insured with
                                                           ance Company of North America v. West of Eng-
    respect to the conduct of any current or past
                                                           land Shipowners Mutual Ins. Ass'n., 890 F.Supp.
    partnership or joint venture that is not shown as
                                                           1296, 1301 n. 5 (E.D.La.1995). Accordingly, if Al-
    a Named Insured in the Declarations.
                                                           ternate Employer's are “insured” within the mean-
  Rec.Doc. No. 65, Ex. “E”. Clearly, the definition        ing of the subject policy, as American Empire sub-
  of “insured” does not include “Alternate Employ-         mits, neither C & G nor Sub Sea are entitled to cov-
  er's.” Yet, the policy contains an Alternate Em-         erage under the unambiguous terms of the insur-
  ployer Endorsement which provides:                       ance policy.
  The Insuring Agreements, Exclusions, and Con-
                                                                The Court further notes that summary judgment
  ditions of this Policy shall apply to the alternate
                                                           is not appropriate at this time for an additional reas-
  employer, except Condition 1., Cancellation,
                                                           on. The American Empire insurance policy at issue
  shall not apply to the alternate employer.
                                                           clearly excludes coverage for longshoremen.
  Rec.Doc. No. 65, Ex. “E” “Alternate Employer             Rec.Doc. No. 65 Ex. “E” pp. 1-2. As the issue of
  Endorsement.” The Court finds that the policy            seaman versus longshoreman status has been re-
  language is ambiguous, and thus the issue of in-         ferred to the merits, summary judgment with re-
  surance coverage warrants a full hearing.                spect to the insurance coverage issue is premature.
                                                           See, Discussion in Section I, supra.
     Although summary judgment is not appropriate
at this time, the Court cannot help but offer the fol-         Accordingly, and for all of the above and fore-
lowing observation. American Empire submits that           going reasons,
its policy permits recovery under the Jones Act
                                                               IT IS ORDERED that Sub Sea's Motion for
against an employer who is not the owner or operat-
                                                           Summary Judgment seeking contractual defense
or of the particular vessel on which the plaintiff is
                                                           and indemnity from C & G Welding is GRANTED.
injured. See, American Empire's Opposition to Sub
Sea's Motion for Summary Judgment, p. 5.                       *461 IT IS FURTHER ORDERED that Sub
[Rec.Doc. No. 69]. The Endorsement (Exclusion)             Sea's Motion for Summary Judgment seeking insur-
which American Empire claims excludes Sub Sea's            ance coverage from American Empire is DENIED.
claim reads as follows:
                                                                IT IS FURTHER ORDERED that American
    It is agreed and understood that Exclusion No.         Empire's Motion for Summary Judgment seeking a
    1 is deleted and replaced with the following:          ruling that Sub Sea is not covered by the terms of
    [The following is excluded from coverage]              the subject insurance policy is DENIED.

  1. Any liability of the insured to the captain or             IT IS FURTHER ORDERED that C & G's Mo-
  crew of any watercraft or vessel which is owned          tion for Summary Judgment seeking an order void-
  chartered loaned to rented to or operated by or          ing C & G's contractual defense and indemnifica-
  for any insured.                                         tion obligations is DENIED.




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 38 ofPage
                                                                        48 9
101 F.Supp.2d 454
(Cite as: 101 F.Supp.2d 454)




E.D.La.,1998.
Foster v. SubSea Intern., Inc.
101 F.Supp.2d 454

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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 39 of 48

                                                                                                        Page 1
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




                                                          ental shelf.

            United States District Court,                 [2] Workers' Compensation 413           2142.30
                  E.D. Louisiana.
                                                          413 Workers' Compensation
   Tyrone JACKSON and Eva Saunders Jackson                      413XX Effect of Act on Other Statutory or
                    v.                                    Common-Law Rights of Action and Defenses
       TENNECO OIL COMPANY, et al.                                 413XX(B) Action by Third Person Against
                                                          Employer
               Civ. A. No. 84–4677.                                 413XX(B)1 In General
                   Dec. 5, 1985.                                         413k2142.10 Indemnity or Contribu-
                                                          tion
     In action by worker injured on platform on out-
                                                                            413k2142.30 k. Longshoremen or
er continental shelf, platform owner asserted claims
                                                          Seamen, Injuries To. Most Cited Cases
for contractual and tort indemnity against worker's
                                                              (Formerly 413k2142)
employer and sought coverage under insurance
                                                               Exclusive liability provision of Longshore-
policies issued to employer by insurer. On summary
                                                          men's and Harbor Workers' Compensation Act, §
judgment motion of employer and insurer, the Dis-
                                                          5(a), 33 U.S.C.A. § 905(a), barred platform owner's
trict Court, Mentz, J., held that: (1) platform owner
                                                          tort indemnity claim asserted against employer of
was barred by Longshoremen's and Harbor Work-
                                                          worker allegedly injured while performing acida-
ers' Compensation Act and Louisiana law from as-
                                                          tion and gravel packing work on platform on outer
serting tort indemnity claim against employer, and
                                                          continental shelf; employer's liability was limited
(2) platform owner could not assert claims against
                                                          under 33 U.S.C.A. § 905(a) to the provision of
insurer as third-party beneficiary under policy is-
                                                          compensation benefits due worker.
sued to employer. On reconsideration, the Court
further held that indemnity provision of master ser-      [3] Insurance 217       2360
vice or work agreement between platform owner
and contractor was void and unenforceable under           217 Insurance
Louisiana Oil Field Indemnity Act of 1981.                    217XVII Coverage––Liability Insurance
                                                                  217XVII(B) Coverage for Particular Liabilit-
    Order in accordance with opinion.                     ies
                                                                      217k2359 Manufacturers' or Contractors'
                   West Headnotes
                                                          Liabilities
[1] Admiralty 16       1.20(2)                                             217k2360 k. In General. Most Cited
                                                          Cases
16 Admiralty                                                  (Formerly 217k435.24(1))
   16I Jurisdiction                                            Platform owner could not claim status as third-
      16k1.10 What Law Governs                            party beneficiary under contractor's policy by virtue
          16k1.20 Effect of State Laws                    of the master work or service agreement with con-
             16k1.20(2) k. Contracts in General; In-      tractor, since platform owner was a party to the
surance. Most Cited Cases                                 agreement, and the agreement did not require that
     Louisiana law governed platform owner's right        platform owner be named as an additional insured
to seek contractual indemnity for injuries sustained      on the policy under which platform owner asserted
by nonemployee on fixed platform on outer contin-         its third-party claim.




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 40 ofPage
                                                                        48 2
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




[4] Insurance 217       2361                                    This matter is before the Court upon motion of
                                                           defendant, Halliburton Services, Inc. (Halliburton)
217 Insurance                                              and third party defendant, Highlands Insurance
    217XVII Coverage––Liability Insurance                  Company (Highlands) for summary judgment as to
       217XVII(B) Coverage for Particular Liabilit-        Tenneco Oil Company's (Tenneco) claims for con-
ies                                                        tractual indemnity, tort indemnity, and coverage
            217k2359 Manufacturers' or Contractors'        under insurance policies issued to Halliburton by
Liabilities                                                Highlands. Halliburton contends that Tenneco's
              217k2361 k. Scope of Coverage. Most          claim for contractual indemnity is barred by the
Cited Cases                                                Louisiana Oilfield Indemnity Act, La.Rev.Stat.Ann.
    (Formerly 217k435.24(1))                               9:2780 (West Supp.1985) (“Indemnity Act:). Hal-
     Even if platform owner was entitled to be             liburton further claims that Tenneco's claim for tort
named as an additional insured under contractor's          indemnity is barred by § 905(a) of the Longshore-
policies or claim protection of those policies for its     men's and Harbor Workers' Compensation Act, 33
own negligence, such claim was invalid and unen-           U.S.C. § 901 et seq. Highlands avers that Tenneco's
forceable under LSA-R.S. 9:2780, subd. G, pro-             third party claim against it for coverage under in-
scribing indemnity provisions in oil drilling agree-       surance policies issued to Halliburton is without
ments.                                                     merit, because the policies issued by Highlands do
                                                           not cover Tenneco or, in the alternative, are void
[5] Indemnity 208        30(5)
                                                           under the Indemnity Act. For the reasons set forth
208 Indemnity                                              below, the motion for summary judgment is
    208II Contractual Indemnity                            GRANTED dismissing Tenneco's *1454 claim
       208k26 Requisites and Validity of Contracts         against Halliburton for tort indemnity, and Ten-
           208k30 Indemnitee's Own Negligence or           neco's third party claim for insurance coverage
Fault                                                      against Highlands. As to Tenneco's claim against
             208k30(5) k. Contractors, Subcontract-        Halliburton, the motion for summary judgment is
ors, and Owners. Most Cited Cases                          GRANTED insofar as Tenneco seeks indemnity for
    (Formerly 208k3)                                       its own negligence. Halliburton, should Tenneco be
     Indemnity provision of master service or work         exonerated at trial, will be required to reimburse
agreement, requiring contractor to defend or indem-        Tenneco its costs of defense.
nify platform owner for platform owner's liability
                                                                Plaintiff herein was allegedly injured on or
as the owner or custodian of a defective thing or for
                                                           about November 25, 1983 while performing acida-
its sole or concurrent fault, was void and unen-
                                                           tion and gravel packing work on a Tenneco plat-
forceable under Louisiana Oil Field Indemnity Act
                                                           form on the outer continental shelf. At the time of
of 1981, LSA-R.S. 9:2780.
                                                           his alleged injury, plaintiff was employed by Hal-
*1453 Michael H. Bagot, Jr., Phelps, Dunbar,               liburton and the parties have stipulated that Hal-
Marks, Claverie & Sims, New Orleans, La., for              liburton was working for Tenneco pursuant to an
third-party defendant.                                     August 4, 1980 Master Service or Work Agree-
                                                           ment. Paragraph VII of the Agreement contains in-
Guy E. Wall, Gordon, Arata, McCollam, Stuart &             demnity provisions which read as follows:
Duplantis, New Orleans, La., for defendant.
                                                             VII. INDEMNITY

          ORDER AND REASONS                                    A. Company agrees to defend, indemnify and
MENTZ, District Judge.                                       hold Contractor, its subsidiary and affiliate com-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 41 ofPage
                                                                        48 3
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




  panies, their agents, employees, directors, of-          ine insurance policies.
  ficers, servants, and insurers, harmless from and
  against any and all losses, claims, demands, liab-            The 1980 Agreement does not specify a
  ilities or causes of action of every kind and char-      “terminable performance of a specific job or activ-
  acter, in favor of any person or party, for injury       ity”. See R.S. 9:2780(I). It is, in fact, an open-
  to or illness or death of any employee of Com-           ended Master Service Agreement which governs
  pany or its joint interest owners, which injury, ill-    work performed by Halliburton for Tenneco. This
  ness or death arises out of or is incident to the        Court finds that the execution of the Agreement pri-
  work performed under this Contract, and regard-          or to effective date of the Indemnity Act does not
  less of the cause of such injury, illness or death,      preclude the Act's application to the Agreement.
  even though caused in whole or in part by a pre-         See § 9:2780(I); Rigby v. Tenneco Oil Co., 607
  existing defect, indemnitees' negligence or strict       F.Supp. 1247, 1248 (E.D.La.1985); Home Ins. Co.
  liability, or other legal fault of indemnitees.          v. Garber Industries, Inc., 588 F.Supp. 1218, 1222
  Company shall fully defend any such claim, de-           (W.D.La.1984); Tobin v. Gulf Oil Corp., 535
  mand or suit as its sole expense, even if the same       F.Supp. 116, 117 (E.D.La.1982).
  is groundless. This indemnity shall be limited to
                                                                 TENNECO'S CONTRACTUAL CLAIMS
  the extent necessary for compliance with applic-
                                                                Tenneco correctly notes that the application of
  able State and Federal laws.
                                                           the Indemnity Act voids only the obligation to in-
     B. Contractor agrees to defend, indemnify and         demnify Tenneco for Tenneco's*1455 negligence or
  hold Company, its joint interest owners, its subsi-      strict liability and does not bar Tenneco's contractu-
  diary and affiliate companies, their agents, em-         al claim against Halliburton for Halliburton's fault
  ployees, directors, officers, servants, and in-          or negligence. See Rigby v. Tenneco Oil Co., 607
  surers, harmless from and against any and all            F.Supp. 1247, 1248 (E.D.La.1985); Home Ins. Co.
  losses, claims, demands, liabilities or causes of        v. Garber Indus., Inc., 588 F.Supp. 1218, 1222–23
  action of every kind and character in favor of any       (W.D.La.1984). However, Tenneco also argues that
  person or party, for injury to or illness or death of    the Indemnity Act is inconsistent with the Outer
  any employee of Contractor or any employee of            Continental Shelf Lands Act, 43 U.S.C. §
  subcontractors of Contractor, which injury, ill-         1333(a)(2)(A) and § 905(a) of the LHWCA, 33
  ness or death arises out of or is incident to the        U.S.C. § 901, et seq. This argument was addressed
  work performed under this Contract, and regard-          by Judge Schwartz in Rigby supra, 607 F.Supp. at
  less of the cause of such injury, illness or death,      1247–50 and by this Court in Wilson v. J. Ray Mc-
  even though caused in whole or in party by a pre-        Dermott & Company, Inc., 616 F.Supp. 1301
  existing defect, indemnitees' negligence or strict       (E.D.La.1985). For the reasons set forth in these
  liability, or other legal fault of indemnitees. Con-     opinions, the Court finds that R.S. 9:2780 is not in-
  tractor shall fully defend any such claim, demand        consistent with federal law.
  or suit at its sole expense, even if the same is
                                                                [1] Consequently, Louisiana law governs a
  groundless.
                                                           platform owner's right to seek contractual indem-
     These reciprocal provisions require Halliburton       nity for injuries sustained by non-employees on
and Tenneco to be responsible for personal injuries        fixed platforms on the outer continental shelf. See
sustained by their own employees, regardless of            Rodrigue v. Aetna Cas. & Serv. Co., 395 U.S. 352,
fault. Other contractual provisions require Hallibur-      89 S.Ct. 1835, 23 L.Ed.2d 360 (1969).
ton to provide certain insurance coverages and
                                                              TENNECO'S TORT INDEMNITY CLAIMS
name Tenneco as an additional assured on its mar-
                                                               Tenneco contends that tort indemnity is not




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 42 ofPage
                                                                        48 4
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




barred by § 905(a) of the LHWCA. This section              third party tortfeasor is entitled to seek tort indem-
provides that:                                             nity from a longshoremen's employer, as Tenneco
                                                           does here. In fact, the Supreme Court has declined
     The liability of an employer prescribed in Sec.       the invitation to hold employers of injured long-
  4 shall be exclusive and in place of all other liab-     shoremen liable in either tort indemnity or contri-
  ility of such employer to the employee, his legal        bution to third party tortfeasors. See Halcyon Line
  representative, husband or wife, parents, depend-        v. Haenn Ship Ceiling Corp., 342 U.S. 282, 72
  ents, next of kin, and anyone otherwise entitled to      S.Ct. 277, 96 L.Ed. 318 (1952); Atlantic Coast Line
  recover damages from such employer at law or in          R. Co. v. Erie Lackawana Railroad Company, 406
  admiralty on account of such injury or death....         U.S. 340, 92 S.Ct. 1550, 32 L.Ed.2d 110 (1972).
  (emphasis added)
                                                                The Supreme Court's refusal to hold employers
     Notwithstanding jurisprudence to the contrary,        liable for tort indemnity to third parties in addition
Tenneco argues that tort indemnity is not barred in        to requiring them to pay compensation benefits to
light of Lockheed Aircraft Corporation v. United           the injured employee is consistent with the com-
States, 460 U.S. 190, 103 S.Ct. 1033, 74 L.Ed.2d           promise *1456 between employers and employees
911 (1983).                                                that the LHWCA represents.

     In Lockheed the administrator of the estate of a           The LHWCA provides that a covered employee
civilian employee of the United States Navy                is entitled to receive compensation benefits from
brought a wrongful death action against the aircraft       his employer regardless of fault and, in turn, relin-
manufacturer. The manufacturer, in turn, sought in-        quishes his right to a tort recovery from his em-
demnity from the United States pursuant to the Fed-        ployer. See Peters v. No. River Ins. Co. of Morris-
eral Tort Claims Act, 28 U.S.C. § 1346(b), § 2671          town, N.J., 764 F.2d 306, 310 (5th Cir.1985);
et seq. The Court examined the exclusive liability         Louviere v. Shell Oil Co., 509 F.2d 278, 283 (5th
provision of the Federal Employees' Compensation           Cir.1975), cert. denied, 423 U.S. 1078, 96 S.Ct.
Act, 5 U.S.C. 8116(c) as well as the earlier case of       867, 47 L.Ed.2d 90 (1976); 33 U.S.C. 905(a). In a
Weyerhaeuser Steamship Company v. United                   third party tort situation such as the instant litiga-
States, 372 U.S. 597, 83 S.Ct. 926, 10 L.Ed.2d 1           tion, the Fifth Circuit, in Peters, supra, stated:
(1963). Without ruling on the substantive basis of
Lockheed's claim, the court held that the exclusive            We have recognized that the compensation
liability provision of the § 8116(c) did not bar a tort      scheme of the Act furthers at least two other ob-
indemnity claim.                                             jectives, both of which are particularly relevant to
                                                             the issue in this case; (1) “placing the burden ulti-
     Neither Lockheed nor Weyerhaeuser inter-                mately on the company whose default caused the
preted the substantive provisions of the LHWCA. A            injury,” Louviere, 509 F.2d at 283 (quoting Italia
thorough review of the legislative histories shows           Societa v. Oregon Stevedoring Co., 376 U.S. 315,
that Congress has had ample opportunity to and               324, 84 S.Ct. 748, 754, 11 L.Ed.2d 732 (1964) ),
has, in fact, addressed the substantive rights of third      and (2) “protect[ing] employers who are subject
parties without even suggesting any intention of             to absolute liability by the Act,” id. (quoting
making the employer liable in tort to third parties.         Pope & Talbot, Inc. v. Hawn, 346 U.S. 406, 412,
                                                             74 S.Ct. 202, 206, 98 L.Ed. 143 (1953). The Act,
    Although it cited the existence of “nearly
                                                             as interpreted by the Supreme Court, furthers
identical language” in the exclusive remedy provi-
                                                             these objectives by (1) preserving a compensated
sions of the FECA and the LHWCA, the Supreme
                                                             worker's remedies against third parties; (2) allow-
Court did not rule on the question of whether a
                                                             ing the employer in certain circumstances to as-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 43 ofPage
                                                                        48 5
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




  sert the worker's rights against third parties when       at 514, citing, 350 U.S. at 129 [76 S.Ct. at 235]
  the worker has failed to do so; (3) denying third         (emphasis in original).
  parties a right of contribution or indemnity from
  the employer even when the employer is at fault;             Odeco's tort indemnity claim was dismissed on
  (4) allowing the employer to recoup from third-         the basis that “the Act's [LHWCA] exclusive liabil-
  party recoveries the benefits paid to the worker        ity provision effectively abrogates any independent
  even if the employer is at fault; and (5) pre-          tort liability of the employer to its employees,
  serving the employer's right to assert its own in-      thereby eliminating any basis which may have exis-
  dependent cause of action against third parties for     ted for indemnification on a tort theory. Id. See
  recovery of the compensation benefits paid to the       also, Olsen v. Shell Oil Company, 595 F.2d 1099,
  worker.                                                 1103 (5th Cir.1979).

    764 F.2d at 310                                            The Halcyon and Atlantic Coastline opinions
                                                          were dismissed as irrelevant in a footnote by the
    To allow Tenneco to assert a tort indemnity           Supreme Court in Lockheed.*1457 In Lockheed, the
claim against Halliburton would not only frustrate        Supreme Court did not overrule these decisions nor
the purposes of the LHWCA as set out in Peters,           did it address the Berry Brothers decision and its
supra, but would contravene the controlling juris-        progeny. In the footnote, the Lockheed majority dis-
prudence in this Circuit.                                 missed the LHWCA cases noted in the dissenting
                                                          opinion and suggested that Halcyon left open the
     The controlling jurisprudence in the Fifth Cir-      question of whether a right to contribution would
cuit is Ocean Drilling and Exploration Co. v. Berry       be subject to the LHWCA's exclusive liability pro-
Brothers Oilfield Service, 377 F.2d 511 (5th              visions. 460 U.S. at 197, n. 8, 103 S.Ct. at 1037, n.
Cir.1967), cert. denied, 389 U.S. 849, 88 S.Ct. 102,      8, 74 L.Ed.2d at 914, n. 8, citing 342 U.S. at 286, n.
19 L.Ed. 118 (1967), in which Odeco claimed a             12, 72 S.Ct. at 277, n. 12, 96 L.Ed. 318.
right to tort indemnification from Berry Brothers,
the employer of a longshoreman injured on a fixed             The Halcyon court did not address this issue.
Odeco platform on the outer continental shelf. The        Rather, it referred to circuit court rulings which
Fifth Circuit noted that the plaintiff was receiving      held that § 905(a) precluded any action for tort in-
benefits from Berry Brothers pursuant to § 905(a)         demnity or contribution against a longshoreman's
of the LHWCA. The Court examined § 905(a) of              employer. See American Mutual and Liability In-
the LHWCA and Ryan Stevedoring Co. v. Pan At-             surance Co. v. Matthews, 182 F.2d 322, 1950
lantic Steamship Corporation, 350 U.S. 124, 76            A.M.C. 1272 (2nd Cir. 1950); Slattery v. Marra
S.Ct. 232, 100 L.Ed. 133 (1956) and stated that the       Brothers, 186 F.2d 134, 1951 A.M.C. 183 (2nd
obvious purpose of this section,                          Cir.1951). The Matthews court noted that “to im-
                                                          pose a noncontractual duty of contribution on the
  is to make the statutory liability of an employer       employer is pro tanto to deprive him of the im-
  to contribute to its employees compensation the         munity which the statute grants him in exchange for
  exclusive liability of such employer to its employ-     his absolute, though limited, liability to secure
  ees, or to anyone claiming under or through such        compensation to his employees”. 182 F.2d at 324,
  employee, on account of his injury or death             1950 A.M.C. at 1275.
  arising out of that employment. In return, the em-
  ployee, and those claiming under or through him,             [2] It is clear, therefore, that Lockheed does not
  are given a substantial quid pro quo in the form        overrule the Berry Brothers decision and sub-
  of an assured compensation, regardless of fault,        sequent cases which have limited an employer's li-
  as a substitute for their excluded claims. 377 F.2d     ability under § 905(a) of the LHWCA to the provi-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 44 ofPage
                                                                        48 6
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




sion of compensation benefits to the injured em-           third party tortfeasor. See La.Civ.Code Ann. 1794
ployee or his survivors. Lockheed did not decide the       (West Supp.1985) (formerly Civil Code Art. 2091).
question of tort indemnity under the LHWCA,                Since payment of compensation benefits under
which is a different act, with a different purpose         either the Louisiana Workmen's Compensation Act,
from that of the FECA. A recent decision involving         La.Rev.Stat.Ann.R.S. 23:1021 et seq., or the LHW-
a tort indemnity claim under § 905(a) found Lock-          CA, 33 U.S.C. § 901 et seq., does not extinguish an
heed distinguishable on this ground. See Causey v.         employee's right to pursue third parties for all dam-
K & B Equipment Company, Inc., 467 So.2d 1266              ages sustained as a result of the third party's negli-
(La.App. 4th Cir.1985).                                    gence, the compensation employer is not solidarily
                                                           liable with a negligent third party,*1458 regardless
     Even if this Court found Lockheed to be either        of the extent to which the employer may have been
binding or persuasive authority, the decision does         concurrently negligent. See Cripe v. Haynes, supra,
not open the floodgates for tort indemnity or contri-      350 So.2d at 960; Sanderson v. Binnings Construc-
bution claims. In the instant case, the applicable         tion Company, 172 So.2d 721 (La.App.4th
substantive law is that of Louisiana, since jurisdic-      Cir.1965); Hebert v. Blankenship, 187 So.2d 798
tion arises under the Outer Continental Shelf Lands        (La.App.3d Cir.1966); Phillips v. Houston Fire and
Act, 43 U.S.C. § 1331 et seq. and diversity of cit-        Casualty Insurance Company, 219 F.Supp. 420
izenship.                                                  (W.D.La.1963); Brenham v. Southern Pacific Com-
                                                           pany, 328 F.Supp. 119 (W.D.La.1971), aff'd, 469
     In Louisiana, a party obligated to pay compens-
                                                           F.2d 1095 (5th Cir.1972), cert. denied, Southern
ation is not solidarily liable with another party an-
                                                           Pacific Transportation Company v. Sutton's Steel &
swerable in damages under La.Civ.Code Art. 2315.
                                                           Supply, Inc., 409 U.S. 1061, 93 S.Ct. 560, 34
The Workmen's Compensation Act provides a sub-
                                                           L.Ed.2d 513 (1972).
stantive exception to the rule of Article 2315. An
employer whose fault causes damage to an employ-                The exclusive liability language of the Louisi-
ee is not required to repair the damage. The em-           ana Workmen's Compensation Act, which is nar-
ployee has no cause of action under Article 2315           rower than that found in the LHWCA, has been
against the employer for damages for injury sus-           held to bar actions against the employer for indem-
tained in the course and scope of his employment           nity or contribution. See, Moak v. Link Belt Com-
due to the employer's fault. Cripe v. Haynes, 350          pany, 229 So.2d 395 (La.App. 4th Cir.1969), dis-
So.2d 956, 960 (La.App.2d Cir.1977); LSA–R.S.              missed in part, reversed in part on other grounds,
23:1032; Dandridge v. Fidelity & Casualty Co.,             257 La. 281, 242 So.2d 515 (1970); Badeaux v.
192 So. 887 (La.App.2d Cir.1939); Shumake v.               Patterson Truckline, Inc., 247 So.2d 875
Home Indemnity Co., 68 So.2d 789 (La.App.2d                (La.App.3d Cir.1971), writ denied, 259 La. 77, 249
Cir.1953).                                                 So.2d 209 (1971); Bagwell v. South Louisiana Elec-
                                                           tric Co-Op Association, 228 So.2d 555 (La.App.3d
    Under Louisiana law, joint tortfeasors who are
                                                           Cir.1969).
each answerable for damage caused by their acts or
omissions are answerable in solido. La.Civ.Code                 The substantive law of Louisiana, which is the
Ann. Art. 2324; Moss v. Guarisco, 409 So.2d 323            applicable law in this case, is that the party who is
(La.App. 1st Cir.1981), writ denied, 412 So.2d 540         compelled to pay damages to an injured claimant
(La.1982). For the employer and third party tort-          may not demand contribution or indemnity from the
feasor to be solidary obligors, the payment of com-        claimant's compensation employer, even where the
pensation benefits by the employer must have the           third party is only technically at fault. Both the LH-
effect of extinguishing the plaintiff's right to assert    WCA and the Louisiana Workmen's Compensation
these amounts as elements of damage owed by the




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 45 ofPage
                                                                        48 7
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




Act relieve the employer of any liability it may           Co. of Morristown, N.J., supra, 764 F.2d at 310.
have to its employees under La.Civ.Code Ann.Art.           Further, to allow third party tortfeasors to assert
2315. The employer's duty to pay compensation be-          third party tort indemnity claims against employers
nefits to his injured employee arises out of the con-      would vest them with rights not held by or flowing
tract of employment, not out of a theory that the          through the claimant, but arising out of the
employer is a tortfeasor. Consequently, the com-           claimant's injuries. This is not the result intended
pensation employer cannot be a joint tortfeasor with       by Congress.
the third party as to its employees; third parties thus
have no basis under any theory of tort law to de-               *1459 Finally, it should be noted that the result
mand indemnity. See Bagwell, supra, and Sander-            sought by Tenneco would result in the anomalous
son, supra.                                                situation in which platform workers walk into and
                                                           out of situations where the employer would be li-
     As in the Louisiana compensation scheme, the          able for tort indemnity. For example, a platform
LHWCA imposes an obligation upon employers to              worker injured on a fixed platform on the outer
pay compensation benefits to employees injured in          continental shelf would expose his employer to a
the course and scope of their employment, which            claim for indemnification or contribution by the
obligation “shall be exclusive and in place of all         platform owner. If the worker was injured on a
other liability....” 33 U.S.C. § 905(a). Under 33          fixed platform in territorial waters, no claim for in-
U.S.C. 933(a), the employee may prosecute an ac-           demnification or contribution could be asserted
tion against a third party without losing his right to     against his employer. Cf. Herb's Welding, Inc. v.
receive compensation. The result achieved is               Gray, 470 U.S. 414, 105 S.Ct. 1421, 84 L.Ed.2d
identical to that reached under Louisiana substant-        406 (1985), on remand, 766 F.2d 898 (5th Cir.
ive law. See La.Rev.Stat.Ann.R.S. 23:1101 (West            1985). This Court's review of the legislative history
Supp.1985).                                                behind the LHWCA and the existing jurisprudence
                                                           demands that Tenneco's claim for tort indemnity be
     The Supreme Court has long recognized that            rejected.
workers' compensation schemes exist, in part, to
provide “for employers a liability which is fixed            TENNECO'S THIRD PARTY BENEFICIARY
and determinate.” Bradford Electric Light Co. v.                                CLAIM
Clabber, 286 U.S. 145, 159, 52 S.Ct. 571, 576, 76              Tenneco claims to be a third party beneficiary
L.Ed. 1026 (1932). Such a result is not achieved by        under the Highlands' policy by virtue of its 1980
imposing tort liability on employers through the           Master Work or Service Contract with Halliburton.
back door. To allow such a result would upset the          The 1980 Agreement only required Halliburton to
quid pro quo which the compensation schemes cre-           name Tenneco as an additional assured on its mar-
ated limiting an employee's liability to the payment       ine insurance policies. Halliburton was not other-
of compensation benefits to injured employees and          wise required to name Tenneco in its other policies
place employers in the position of being potentially       and did not do so.
liable for both full compensation benefit and for all
damages available in tort. The practical effect of              A contract is a stipulation pour autrui if it
such a situation would be to make the employer             clearly reveals that the intent of the contracting
twice liable for the same event, magnify its poten-        parties was to provide a benefit to a third party.
tial liability beyond that of an ordinary tortfeasor,      Wallace v. Texaco, Inc., 681 F.2d 1088, 1090 (5th
penalize it for making voluntary compensation pay-         Cir.1982). However, for one to be the beneficiary
ments, and such a result would frustrate the avowed        of a stipulation pour autrui, he must not be a party
purposes of the Act. See, Peters v. No. River Ins.         to the contract which stipulates on his behalf. Carl
                                                           Heck Engineers v. Haselden & Assoc., Inc., 316




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 46 ofPage
                                                                        48 8
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




So.2d 890 (La.App. 1st Cir.1975), writ refused, 320        contractual claims for attorney's fees and *1460
So.2d 912 (La.1975).                                       costs of defense. Plaintiff's complaint alleges vari-
                                                           ous acts of negligence against Halliburton, Boot-
     [3][4] Tenneco's third party beneficiary claims       strap and Tenneco. However, plaintiff's claims
must be rejected. First, Tenneco as a party to the         against Halliburton, his employer, were dismissed
contract, may not claim the status of a third party        by summary judgment. Thus, the record now con-
beneficiary. Second, the contract does not require         tains only plaintiff's allegations against Tenneco
that Tenneco be named as an additional assured on          and Bootstrap.
the policy before this Court. Accordingly, Tenneco
has no valid claim to protection on indemnity under             Paragraph VII.B. of the 1980 Master Service or
the Highlands policies. Furthermore, even if it            Work Agreement (duplicated at beginning of opin-
could be said that Tenneco was entitled to be              ion) requires that Halliburton defend and indemnify
named under these policies or claim the protection         Tenneco for any claims made by any of its employ-
of these policies for its own negligence, such a           ees, or its subcontractor's employees, even where
claim would be invalid and unenforceable under             Tenneco is either strictly liable, concurrently negli-
La.Rev.Stat.Ann.R.S. 9:2780(G). In fact, this Court        gent or solely at fault. In Sullen the Fifth Circuit in
notes that identical claims by Tenneco for protec-         pertinent part held that
tion under insurances policies issued to a subcon-
tractor were presented to Judge Schwartz in Rigby,           Louisiana law is definite and certain. Whether a
supra, 607 F.Supp. at 1250.                                  party is obliged to tender a defense to another
                                                             party depends entirely upon the allegations in the
    In sum, this Court finds that Tenneco's third            precipitating pleadings. [citations omitted] ... In
party beneficiary claim is without merit.                    determining whether an indemnitor or an insurer
                                                             is obligated to defend an indemnitee or insured
                    CONCLUSION                               under the terms of an indemnity or insurance con-
     For the foregoing reasons, Tenneco's claim for          tract, the Louisiana courts look exclusively to the
tort indemnity against Halliburton is DISMISSED.             pleadings in light of the contract provisions; the
Tenneco's claim against Highlands for insurance              ultimate outcome of the case has no effect upon
coverage is DISMISSED. Tenneco's claim for con-              the duty to defend. [citations omitted] ...
tractual indemnity against Halliburton is DIS-
MISSED insofar as Tenneco seeks indemnity for its            ... we conclude that unless the contract of indem-
own negligence or fault. Tenneco's claim for attor-          nity specifically provides for costs of defense as a
ney's fees and costs of defense is still before this         separate item of indemnification, the indemnitor
Court. If, and only if Tenneco completely exoner-            has no obligation to defend if the petition alleges
ates itself at trial, may Tenneco assert this claim          facts which, if proven, would establish liability of
against Halliburton. If, at trial, Tenneco is found to       the indemnitee but preclude coverage under the
be one percent at fault, its claim for attorneys fees        indemnity agreement.
and costs of defense will be DISMISSED.
                                                                750 F.2d at 433–34. This case essentially
             ON RECONSIDERATION                            provides a two-step test. The Court must first re-
     The Court, after a careful study of the recent        view the indemnity agreement in question and de-
Fifth Circuit opinions in Sullen v. Missouri Pacific       termine whether the contract for indemnity spe-
Railroad Company, 750 F.2d 428 (5th Cir.1985)              cifically provides a separate item for costs of de-
and Laird v. Shell Oil Co., 770 F.2d 508 (5th              fense. If the indemnity contract does not contain a
Cir.1985), has reconsidered sua sponte that portion        separate item for cost of defense, then the trier of
of its original opinion which dealt with Tenneco's         fact must review the petition and determine if it al-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 47 ofPage
                                                                        48 9
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




leges facts which, if proven, would establish liabil-        to wells for oil, gas, or water, or drilling for min-
ity on part on the indemnitee but precludes cover-           erals which occur in a solid, liquid, gaseous, or
age under the indemnity agreement.                           other state, to the extent those provisions apply to
                                                             death or bodily injury to persons. It is the intent
     Sullen teaches that where an indemnity agree-           of the legislature by this Section to declare null
ment contains a specific provision requiring the in-         and void and against public policy of the state of
demnitor to provide and pay for the defense of the           Louisiana any provision in any agreement which
indemnitee, the indemnitor has an obligation to de-          requires defense and/or indemnification, for
fend the indemnitee. 750 F.2d at 433–34. In this             death or bodily injury to persons, where there is
case, the Agreement does not contain a specific              negligence or fault (strict liability) on the part of
costs of defense provision. Thus, under Sullen, if an        the indemnitee, or an agent or employee of the
agreement between the indemnitor and the indem-              indemnitee, or an independent contractor who is
nitee does not contain a specific provision obligat-         directly responsible to the indemnitee.
ing the indemnitor to pay for the defense of the in-
demnitee, the indemnitor has no obligation to de-               B. Any provision contained in, collateral to, or
fend the indemnitee where the pleadings allege               affecting an agreement pertaining to a well for
facts which, if proven at trial, would establish the         oil, gas, or water, or drilling for minerals which
indemnitee's liability but eliminate coverage under          occur in a solid, liquid, gaseous, or other state, is
the indemnity agreement. 750 F.2d at 433–34. Fo-             void and unenforceable to the extent that it pur-
cusing exclusively on the pleadings and the broad            ports to or does provide for defense or indemnity,
language contained in Paragraph VII.B. of the                or either, to the indemnitee against loss or liabil-
Agreement, this court concludes that plaintiff's             ity for damages arising out of or resulting from
complaint, which alleges fault against Tenneco,              death or bodily injury to persons, which is caused
Halliburton and Bootstrap does not, on its face, pre-        by or results from the sole or concurrent negli-
clude coverage under the Agreement.                          gence or fault (strict liability) of the indemnitee,
                                                             or an agent, employee, or an independent con-
     The required analysis does not stop with this           tractor who is directly responsible to the indem-
Court's consideration of Sullen. If coverage is not          nitee. (emphasis added).
precluded by the indemnity agreement, then the
Court must look at the applicability of the Louisi-             Agreements between parties to contracts affect-
ana Oilfield Indemnity Act of 1981, Louisiana Re-          ing the energy industry are absolutely void when
vised Statutes Annotated § 9:2780. (West                   they provide for indemnity against the indemnitee's
Supp.1985). After reviewing the Act, this Court            sole or concurrent fault. Durant v. Chevron U.S.A.,
concludes that the duty to defend as expressed in          Inc., 594 F.Supp. 527, 529 (E.D.La.1984), aff'd on
the Agreement is void and unenforceable as a mat-          rehearing, 613 F.Supp. 1189 (E.D.La.1985). The
ter of law because it violates the clear language          Louisiana legislature in order to protect certain con-
contained in the Indemnity Act. The statute reads in       tractors and their employees from an inequity being
pertinent part as follows:                                 “foisted” upon them declared null and void any
                                                           provision in any agreement pertaining to the energy
    § 2780. Certain indemnification agreements in-         industry when such provision requires either de-
valid                                                      fense or indemnification for negligence or strict li-
                                                           ability on the part of the indemnitee. 594 F.Supp. at
    A. The legislature finds that an inequity is fois-
                                                           529.
  ted on certain contractors and their employees by
  the defense or indemnity*1461 provisions, either            [5] The Agreement between Halliburton and
  or both, contained in some agreements pertaining         Tenneco requires Halliburton to defend and/or in-




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  Case 2:10-md-02179-CJB-DPC Document 4457-49 Filed 11/01/11 Page 48 of 48
                                                                     Page 10
623 F.Supp. 1452
(Cite as: 623 F.Supp. 1452)




demnify Tenneco even when Tenneco is strictly li-
able or solely or concurrently at fault. Thus, the in-
demnity provision violates Louisiana's clear public
policy expressed in La.Rev.Stat.Ann. § 9:2780(A)
and (B). This Court holds that the indemnity provi-
sion requiring Halliburton to defend and/or indem-
nify Tenneco for Tenneco's liability as the owner or
custodian of a defective thing (i.e. strict liability) or
for its sole or concurrent fault is void and unen-
forceable as a matter of Louisiana statutory law.
This does not preclude Tenneco from claiming con-
tractual indemnity from Halliburton for Hallibur-
ton's fault. See Home Insurance Co. v. Garber In-
dustries, Inc., 588 F.Supp. 1218, 1222–23
(W.D.La.1984); Rigby v. Tenneco Oil Co., 607
F.Supp. 1247, 1248 (E.D.La.1985); Wilson v. J.
Ray McDermott, Inc., 616 F.Supp. 1301, 1305
(E.D.La.1985). Furthermore, Halliburton has not
established any legal basis to annul its obligation to
indemnify Tenneco for Halliburton's fault.

     In sum, Tenneco cannot enforce the Agreement
and require Halliburton to defend and indemnify
Tenneco against its own negligence or fault.
However, if and only if Tenneco completely exon-
erates itself at trial, may Tenneco assert its claim
for costs of defense and attorney's fees against Hal-
liburton.

    Accordingly,

    The Court's earlier ruling on Highlands' and
Halliburton's motion for summary judgment is
PROPER and CORRECT.

D.C.La.,1985.
Jackson v. Tenneco Oil Co.
623 F.Supp. 1452

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